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1     Joseph R. Re (Bar No. 134479)
      joseph.re@knobbe.com
 2    Stephen C. Jensen (Bar No. 149894)
      steve.jensen@knobbe.com
 3    Benjamin A. Katzenellenbogen (Bar No. 208527)
      ben.katzenellenbogen@knobbe.com
 4    Perry D. Oldham (Bar No. 216016)
      perry.oldham@knobbe.com
 5    Stephen W. Larson (Bar No. 240844)
      stephen.larson@knobbe.com
 6    KNOBBE, MARTENS, OLSON & BEAR, LLP
      2040 Main Street, Fourteenth Floor
 7    Irvine, CA 92614
      Telephone: (949) 760-0404; Facsimile: (949) 760-9502
 8
      Adam B. Powell (Bar. No. 272725)
 9    adam.powell@knobbe.com
      KNOBBE, MARTENS, OLSON & BEAR, LLP
10    3579 Valley Centre Drive
      San Diego, CA 92130f
11    Telephone: (858) 707-4000; Facsimile: (858) 707-4001
12    Attorneys for Plaintiffs,
      MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
13
                           IN THE UNITED STATES DISTRICT COURT
14
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                       SOUTHERN DIVISION
16
       MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
17
       a Delaware corporation; and           )
       CERCACOR LABORATORIES, INC.,          ) JOINT STIPULATION
18
       a Delaware corporation                ) REGARDING PLAINTIFFS’
                                             ) MOTION TO COMPEL APPLE
19
                Plaintiffs,                  ) TO PRODUCE DOCUMENTS
                                             ) AND FULLY ANSWER
20
           v.                                ) INTERROGATORIES
                                             )
       APPLE INC., a California corporation )) [Discovery  Document: Referred to
21
                                                Magistrate Judge John D. Early]
22
                Defendant.                   )
                                             ) Date: May 13, 2021
23                                           ) Time: 10:00 a.m.
                                             )
24                                           ) Ctrm: 6A
                                             )
25                                           ) Discovery Cut-Off:     7/5/2021
                                             )
26                                           ) Pre-Trial Conference: 3/21/2022
                                             ) Trial:                 4/5/2022
27                                           )
                                             ) Hon. James V. Selna
28                                           ) Magistrate Judge John D. Early
                          REDACTED VERSION OF DOCUMENT
                         PROPOSED TO BE FILED UNDER SEAL
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1     JOSHUA H. LERNER, SBN 220755
        jlerner@gibsondunn.com
 2    GIBSON, DUNN & CRUTCHER LLP
      555 Mission Street Suite 3000
 3    San Francisco, CA 94105
      Tel.: 415.393.8200 / Fax: 415.393.8306
 4
      H. MARK LYON, SBN 162061
 5      mlyon@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP
 6    1881 Page Mill Road
      Palo Alto, CA 94304-1211
 7    Tel.: 650.849.5300 / Fax: 650.849.5333
 8    BRIAN M. BUROKER, pro hac vice
       bburoker@gibsondunn.com
 9    BRIAN K. ANDREA, pro hac vice
       bandrea@gibsondunn.com
10    GIBSON, DUNN & CRUTCHER LLP
      1050 Connecticut Avenue, N.W.
11    Washington, DC 20036
      Tel.: 202.955.8541 / Fax: 202.467.0539
12
      BRIAN A. ROSENTHAL, pro hac vice
13     brosenthal@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP
14    200 Park Avenue
      New York, NY 10166-0193
15    Tel.: 212.351.2339 / Fax: 212.817.9539
16    ILISSA SAMPLIN, SBN 314018
        isamplin@gibsondunn.com
17    GIBSON, DUNN & CRUTCHER LLP
      333 South Grand Avenue
18    Los Angeles, CA 90071-3197
      Tel.: 213.229.7000 / Fax: 213.229.7520
19
      ANGELIQUE KAOUNIS, SBN 209833
20     akaounis@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP
21    2029 Century Park East Suite 4000
      Los Angeles, CA 90067
22    Tel.: 310.552.8546 / Fax: 310.552.7026
23    Attorneys for Defendant Apple Inc.
24

25

26

27

28
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1           Pursuant to Federal Rule of Civil Procedure 37 and Local Rule 37-2, Plaintiffs
 2    Masimo Corporation and Cercacor Laboratories, Inc. (collectively, “Plaintiffs”), as
 3    movant, and Defendant Apple, Inc. (“Apple”), as respondent, through their respective
 4    counsel of record, submit this joint stipulation in connection with Masimo’s Motion To
 5    Compel Apple To Produce Documents And Fully Answer Interrogatories. Pursuant to
 6    Local Rule 37-1, this Joint Stipulation was prepared following the parties’ conference of
 7    counsel, which took place on February 16 and 17, 2021.
 8                             I. INTRODUCTORY STATEMENTS
 9    A.    Plaintiffs’ Introductory Statement
10          This motion concerns Apple’s refusal to produce technical information directly
11    relevant to Plaintiffs’ claims.    While Apple initially agreed to produce responsive
12    documents, Apple attempted to withdraw that commitment when the Court stayed
13    Plaintiffs’ patent infringement claims. See Dkt. 222. After the stay, Apple withheld
14    documents by asserting Plaintiffs had not sufficiently described their trade secrets under
15    California Code of Civil Procedure § 2019.210. Ex. 10.1 Apple argued to the Court that
16    Plaintiffs were “stalling” and “surprised Apple with a woefully deficient disclosure” when
17    the parties exchanged the disclosure and Apple’s documents. Dkt. 259-1 at 7-8. Contrary
18    to Apple’s rhetoric, this Court found Plaintiffs’ disclosure sufficient. Dkt. 279.
19          While Apple’s Section 2019.210 objection was pending, Plaintiffs tried to discuss
20    Apple’s other objections, but Apple refused. Ex. 13. After the Court’s ruling, Apple waited
21    weeks to respond to Plaintiffs and unleashed a torrent of new objections and limitations to
22    producing documents. Exs. 21 and 22. Plaintiffs attempted to find a compromise, but were
23    unable to resolve all issues. Plaintiffs address the disputes below.
24          First, Plaintiffs move to compel on RFPs 63-66, 148-151, 153, 154, 172, and 186,
25    which seek technical documents regarding the pulse rate and oxygen saturation features of
26

27    1
        All exhibits in Plaintiffs’ sections are attached to the Declaration of Adam B. Powell,
28    filed concurrently. All emphasis in Plaintiffs’ sections is added unless noted otherwise.


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1     the Apple Watch. The requests are directly relevant to core issues in this case, including
 2    misappropriation of multiple technical trade secrets. Apple refuses to produce documents
 3    on its pulse rate algorithm by arguing that pulse rate is irrelevant to Plaintiffs’ trade secrets.
 4    But Plaintiffs have identified multiple trade secrets related to pulse rate. Apple also argues
 5    it did not misappropriate those trade secrets. But Apple cannot refuse discovery merely
 6    because it contests Plaintiffs’ claim on the merits. Apple also refuses to produce documents
 7    regarding early versions of the watch. But the evolution and development of the watch is
 8    relevant to numerous issues discussed in detail below.
 9          Apple also states it will produce documents “only to the extent they relate to the
10    alleged trade secrets in Plaintiffs’ Section 2019.210 disclosure.” Ex. 24 at 8-9. Apple thus
11    seeks to withhold any responsive document that—in Apple’s opinion—does not directly
12    relate to Plaintiffs’ description of trade secrets. That is improper because Section 2019.210
13    is a procedural requirement to “commenc[e] discovery”—not a basis to withhold
14    documents. See Cal. Civ. P. Code § 2019.210. As discussed below, the scope of discovery
15    is broader than the specific trade secrets identified in a Section 2019.210 disclosure. Thus,
16    Section 2019.210 helps guide discovery much like a patent claim guides discovery in a
17    patent case. However, it does not provide a basis for a defendant to selectively withhold
18    specific responsive documents based on the defendant’s assertion that the document does
19    not directly relate to Plaintiffs’ description of trade secrets.
20          Second, Plaintiffs move to compel on RFPs 71-77 and 83-86, which seek technical
21    documents regarding the physiological monitoring features of the Apple Watch. In
22    addition to the objections discussed above, Apple argues the term “physiological
23    monitoring” is too broad. But the parties agreed—and the court entered—a protective
24    order using the same term. Apple also proposed using this term to narrow other RFPs and
25    used the same term in its own RFPs to Plaintiffs. Plaintiffs’ RFPs are reasonable.
26          Third, Plaintiffs move to compel on RFPs 97 and 100, which seek documents
27    regarding any comparisons between the parties’ products. Apple again seeks to withhold
28    responsive documents that—in Apple’s opinion—do not directly relate to Plaintiffs’

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1     description of trade secrets. That makes no sense. The requested categories of documents
 2    are relevant and proportional to the needs of this case—consistent with Plaintiffs’
 3    identification of trade secrets and the allegations in Plaintiffs’ complaint.
 4          Fourth, Plaintiffs move to compel on RFPs 128, 129, 184, and 196, which seek
 5    documents regarding the Apple patents and patent applications that are the subject of
 6    Plaintiffs’ correction of inventorship / ownership claims. Apple asserts it will produce only
 7    documents concerning subject matter claimed by the patents. That limitation lacks merit
 8    because disclosed subject matter is still relevant to Plaintiffs’ correction of inventorship /
 9    ownership claims. Moreover, Plaintiffs’ trade secret claims assert that Apple improperly
10    disclosed Plaintiffs’ trade secrets in patents. Material that is disclosed but not claimed is
11    thus directly relevant.
12          Fifth, Plaintiffs move to compel on RFPs 242 and 243, which seek Apple’s
13    unpublished patent applications on physiological monitoring. Such documents are directly
14    relevant to Plaintiffs’ trade secret claims, which assert Apple is improperly disclosing
15    Plaintiffs’ trade secrets in patent applications.       Plaintiffs previously moved for a
16    preliminary injunction that would have required Apple to produce applications before
17    allowing them to publish. Judge Selna found a likelihood of success on the merits, but
18    denied the motion because Plaintiffs had not proved it was likely Apple would disclose
19    additional trade secrets in any particular application. Ex. 29 at 7, 9, 10, 11. Plaintiffs thus
20    reasonably seek copies of Apple’s relevant unpublished applications to determine whether
21    Apple will be publishing additional trade secrets belonging to Plaintiffs.
22          Sixth, Plaintiffs move to compel Apple to meaningfully respond to Plaintiffs’
23    Interrogatories 7 and 8, which seek technical information about the development of
24    physiological monitoring capabilities of the Apple Watch. Such requests are directly
25    relevant to core issues in this case, including misappropriation of Plaintiffs’ technical trade
26    secrets. Apple’s responses are deficient because Apple made no attempt to explain the
27    development of any feature of the Apple Watch. Instead, Apple merely cited public
28    websites and cited every document and all source code that Apple had produced pursuant

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1     to Rule 33(d). Apple argues the interrogatories are overbroad, but does not address the
 2    scope of the interrogatories as narrowed during the meet and confer.
 3          Finally, Plaintiffs move to compel Apple to meaningfully respond to Interrogatory
 4    9, which seeks technical information about Apple’s pulse rate algorithm. Apple’s response
 5    merely incorporates its response to Interrogatories 7 and 8, and again cited every document
 6    and all source code that Apple had produced pursuant to Rule 33(d). That is deficient for
 7    the reasons discussed above. Apple again argues it should not have to provide information
 8    about pulse rate because it believes Plaintiffs claim will fail on the merits. As discussed,
 9    that is inappropriate. The Court should grant Plaintiffs’ Motion.
10    B.    Defendant’s Introductory Statement
11          Apple already produced, or has already agreed to produce, the technical information
12    that is relevant to Plaintiffs’ claims. The additional information Plaintiffs seek has no
13    relation to the alleged trade secrets identified in Plaintiffs Section 2019.210 disclosure, and
14    Plaintiffs are simply wrong in asserting that discovery untethered to the disclosure is
15    proper. Plaintiffs are not entitled to engage in staggeringly broad discovery from Apple’s
16    sensitive files for broad swaths of technical information on functions that Plaintiffs do
17    not—and cannot—claim are related to the alleged misappropriation of trade secrets by Mr.
18    Lamego, a former Apple employee who: (i) only worked for Apple for six months, and
19    (ii) departed Apple over seven years ago. The very purpose of Section 2019.210 is to
20    define the boundaries of trade secret discovery before it begins, and to assist this Court and
21    the parties in determining whether Plaintiffs’ requested discovery falls within those
22    boundaries. See Computer Econ., Inc. v. Gartner Grp., Inc., 50 F. Supp. 2d 980, 985 (S.D.
23    Cal. 1999) (Section 2019.210 “fram[es] the appropriate scope of discovery” and assists in
24    “determin[ing] whether plaintiff’s discovery requests fall within that scope”); see also, e.g.,
25    Albert’s Organics, Inc. v. Holzman, 2020 WL 4368205, at *3 (N.D. Cal. July 30, 2020)
26    (“[S]ection 2019.210 . . . assists the court and parties in defining the appropriate scope of
27    discovery.” (citation omitted)). This Court should reject Plaintiffs’ efforts to expand
28    discovery through overbroad requests that go well beyond the alleged trade secrets at issue.

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1           RFPs 63-66, 148-151, 153-154, 172, and 186. Apple already agreed to produce
 2    documents responsive to RFPs 148–149, and already produced documents responsive to
 3    RFP 186. As explained in footnote 3, Apple also agreed to produce documents responsive
 4    to RFP 151. The other RFPs—Nos. 63–66, 150, 153, 154, and 172—seek documents that
 5    exceed the boundaries of Plaintiffs’ Section 2019.210 disclosure, and thus are not relevant
 6    or proportional. Indeed, Plaintiffs admit these RFPs seek information not connected to
 7    their alleged trade secrets while fighting the premise of Section 2019.210. The case law,
 8    however, is clear that Section 2019.210 disclosures provide the roadmap for discovery in
 9    a trade secret misappropriation case. If trade secret plaintiffs could propound discovery
10    with no connection to the alleged trade secrets, Section 2019.210 would serve no purpose
11    at all. Apple has already agreed to produce documents responsive to these RFPs, to the
12    extent they pertain to Plaintiffs’ alleged trade secrets. Plaintiffs are not entitled to more.
13          RFPs 71-77 and 83-86. These RFPs likewise are not tethered to Plaintiffs’ alleged
14    trade secrets, and therefore are overbroad. This is epitomized by Plaintiffs’ use in these
15    RFPs of the overbroad term “physiological monitoring”—which extends to matters that go
16    well beyond the alleged trade secrets in this case. Plaintiffs’ attempts to point to other uses
17    of that term are unavailing. The undisputed fact—which Plaintiffs’ counsel conceded
18    during the meet-and-confer process—is that “physiological monitoring” is a broad term
19    that picks up features of the Apple Watch that have nothing to do with this case. Again,
20    Apple has already agreed to produce documents responsive to these RFPs, to the extent
21    they pertain to Plaintiffs’ alleged trade secrets. Plaintiffs are not entitled to more.
22          RFPs 97 and 100. These RFPs likewise go beyond the alleged trade secrets in this
23    case, and therefore seek documents that are not relevant or proportional. Again, Apple has
24    already agreed to produce documents responsive to these RFPs, to the extent they pertain
25    to Plaintiffs’ alleged trade secrets. Plaintiffs are not entitled to more.
26          RFPs 128, 129, 184, and 196. Apple agreed to produce documents concerning the
27    subject matter of the claims of the Apple patents and applications that are the subject of
28    Plaintiffs’ correction of inventorship/ownership claims. Plaintiffs’ request for more—i.e.,

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1     documents concerning disclosed subject matter—is not relevant or proportional because
 2    disclosed, but unclaimed, matter is irrelevant to Plaintiffs’ claims.
 3          RFPs 242 and 243.          Plaintiffs attempt to justify their requests for Apple’s
 4    unpublished patent applications by pointing to Judge Selna’s denial of their preliminary
 5    injunction motion that sought to require Apple to produce patent applications to Plaintiffs
 6    before allowing them to publish. But this Court found no likelihood that Apple would
 7    publish any of Plaintiffs’ trade secrets in its patent applications and denied the production
 8    Plaintiffs now seek. Apple already informed Plaintiffs that it has no pending patent
 9    applications from Mr. Lamego or any of their other former employees that relate in any
10    way to Plaintiffs’ allegations. Placing the burden on Apple of reviewing potentially
11    thousands of its other pending patent applications without some showing of relevance by
12    Plaintiffs is unreasonable. This is a transparent effort by Plaintiffs to gain access to Apple’s
13    IP strategy and sensitive patent filings—without any showing that the documents have
14    anything whatsoever to do with the alleged trade secrets—and should be denied.
15          Interrogatory Nos. 7 and 8. Apple already responded in full to both interrogatories
16    with responsive information in its possession that relates to Plaintiffs’ alleged trade secrets,
17    and will supplement if it learns of additional responsive information. But, Apple is well
18    within its rights to rely on Rule 33(d), like any other litigant responding to interrogatories
19    under the Federal Rules of Civil Procedure. That Apple’s Rule 33(d) responses referenced
20    its productions made as of that date—which, in total, reflect only 1.0% of the pages Apple
21    has produced in this case as of the date of this filing—is of no moment. Apple prioritized
22    the production of technical documents (which Plaintiffs have now had for months after
23    demanding early discovery in the now-stayed patent case), and thus its early productions
24    included the documents that contain the information responsive to Interrogatory Nos. 7 and
25    8. Apple’s responses to these interrogatories are proper and complete.
26          Interrogatory No. 9. Apple also already responded in full to this interrogatory, with
27    the information in its possession that is responsive and relates to Plaintiffs’ alleged trade
28    secrets. Plaintiffs contend that Apple’s response is deficient because it does not cover any

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1                          used in the Apple Watch. But the only                      implicated
 2    by Plaintiffs’ Section 2019.210 disclosure and pleadings are those
 3                           in the Apple Watch. Plaintiffs’ request for information beyond its
 4    alleged trade secrets is not relevant or proportional. And, again, Plaintiffs’ Rule 33(d)
 5    arguments are inapposite for the same reasons they fail for Interrogatory Nos. 7 and 8.
 6          At bottom, this motion reflects Plaintiffs’ desire to engage in overbroad discovery
 7    in a trade secret case where the law is clear that discovery should be tied to the Section
 8    2019.210 disclosure. Apple produced or agreed to produce the documents and information
 9    responsive to the discovery requests at issue to the extent relevant to Plaintiffs’ alleged
10    trade secrets. Plaintiffs have no credible basis or justification for more.
11                            [remainder of page left intentionally blank]
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1               II. PLAINTIFFS’ RFPS 63-66, 148-151, 153, 154, 172, AND 186
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 63-66, 148-
 3    151, 153, 154, 172, 186, and Apple’s response to each request. The parties’ respective
 4    points and authorities follow below.
 5          REQUEST FOR PRODUCTION NO. 63:
 6                Documents sufficient to show any heart rate algorithms used in any of
            the Apple Watch Products.
 7
            RESPONSE TO REQUEST FOR PRODUCTION NO. 63:
 8
                  Apple incorporates by reference its General Objections and Objections
 9          to Definitions and Instructions.
10                  Apple objects to this Request to the extent it seeks documents and
11          things protected from discovery by the attorney-client privilege, the work-
            product doctrine, the common-interest privilege, and/or any other applicable
12          privilege, immunity, or protection. Apple objects to this Request as overbroad
13          and unduly burdensome to the extent it seeks information neither relevant to
            the issues in the present action nor reasonably calculated to lead to the
14          discovery of admissible evidence. Apple objects to this Request to the extent
15          that it seeks information already in Plaintiffs’ possession or information that
            is obtainable from another source, such as publicly available materials, that is
16          more convenient, less burdensome, or less expensive. Apple objects to this
17          Request to the extent it seeks documents related to products that are not
            relevant to this litigation or documents related to products Plaintiffs have not
18          identified in their Complaint or otherwise accused of infringement. Apple
19          objects to this Request as overbroad and unduly burdensome because it is not
            limited to the publicly released Apple Watch Series 3-5 devices identified and
20          alleged in Plaintiffs’ infringement allegations to infringe the Asserted Patents.
21          Apple objects to this Request as vague, ambiguous, overly broad, and unduly
            burdensome because it uses the undefined phrase “heart rate algorithm,”
22          which does not appear reasonably limited to the scope of infringement
23          allegations in this litigation. Apple expressly preserves its objection to
            producing any documents or things that relate to Plaintiffs’ trade secret
24          misappropriation claim, even if they also relate to other claims, until Plaintiffs
25          comply with Section 2019.210. Nonetheless, based on this Court’s April 17,
            June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will withhold only
26          documents or things that relate solely to Plaintiffs’ trade secret
27          misappropriation claim until Plaintiffs comply with Section 2019.210—
            without waiving, or intending to waive, the preceding objection.
28


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1                  Subject to and without waiver of the foregoing General and Specific
 2
            Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, Apple agrees to produce documents related to
 3          the technical features accused of infringement and responsive to the
 4          unobjectionable scope of this Request, to the extent such information exists
            and is located after a reasonably diligent search.
 5
            REQUEST FOR PRODUCTION NO. 64:
 6
                   All documents and things that refer or relate to selection between any
 7          heart rate algorithm used in any of the Apple Watch Products.
 8          RESPONSE TO REQUEST FOR PRODUCTION NO. 64:
 9                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
10
                    Apple objects to this Request to the extent it seeks documents and things
11          protected from discovery by the attorney-client privilege, the work-product
12
            doctrine, the common-interest privilege, and/or any other applicable privilege,
            immunity, or protection. Apple objects to this Request as overbroad and
13          unduly burdensome to the extent it seeks information neither relevant to the
14
            issues in the present action nor reasonably calculatedto lead to the discovery
            of admissible evidence. Apple objects to this Request to the extent that it seeks
15          information already in Plaintiffs’ possession or information that is obtainable
16
            from another source, such as publicly available materials, that is more
            convenient, less burdensome, or less expensive. Apple objects to this Request
17          to the extent it seeks documents related to products that are not relevant to
18          this litigation or documents related to products Plaintiffs have not identified
            in their Complaint or otherwise accused of infringement. Apple objects to this
19          Request as overbroad and unduly burdensome because it is not limited to the
20          publicly released Apple Watch Series 3-5 devices identified and alleged in
            Plaintiffs’ infringement allegations to infringe the Asserted Patents. Apple
21          objects to this Request as vague, ambiguous, overly broad, and unduly
22          burdensome because it uses the undefined phrase “heart rate algorithm,”
            which does not appear reasonably limited to the scope of infringement
23          allegations in this litigation. Apple objects to this Request on the grounds that
24          it is overly broad and unduly burdensome to the extent it requests “[a]ll
            documents and things” relating to the subject matter of the request. Apple
25          expressly preserves its objection to producing any documents or things that
26          relate to Plaintiffs’ trade secret misappropriation claim, even ifthey also relate
            to other claims, until Plaintiffs comply with Section 2019.210. Nonetheless,
27          based on this Court’s April 17, June 15, and July 14 Orders (Dkt. Nos. 37,54,
28          79), Apple will withhold only documents or things that relate solely to


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1           Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply with
 2
            Section 2019.210— without waiving, or intending to waive, the preceding
            objection.
 3
                   Subject to and without waiver of the foregoing General and Specific
 4          Objections and under the provisions of the Protective Order and ESI Stipulation
            entered in this case, Apple agrees to produce documents related to the technical
 5
            features accused of infringement and responsive to the unobjectionable scope
 6          of this Request, to the extentsuch information exists and is located after a
            reasonably diligent search.
 7
            REQUEST FOR PRODUCTION NO. 65:
 8
                  All documents and things that refer or relate to power consumption by
 9          any heart rate algorithm used in any of the Apple Watch Products.
10          RESPONSE TO REQUEST FOR PRODUCTION NO. 65:
11                Apple incorporates by reference its General Objections and Objections
12
            to Definitions and Instructions.
                    Apple objects to this Request to the extent it seeks documents and things
13
            protected from discovery by the attorney-client privilege, the work-product
14          doctrine, the common-interest privilege, and/or any other applicable privilege,
            immunity, or protection. Apple objects to this Request as overbroad and
15
            unduly burdensome to the extent it seeks information neither relevant to the
16          issues in the present action nor reasonably calculatedto lead to the discovery
            of admissible evidence. Apple objects to this Request to the extent that it seeks
17
            information already in Plaintiffs’ possession or information that is obtainable
18          from another source, such as publicly available materials, that is more
            convenient, less burdensome, or less expensive. Apple objects to this Request
19
            to the extent it seeks documents related to products that are not relevant to this
20          litigation or documents related to products Plaintiffs have not identified in
            their Complaint or otherwise accused of infringement. Apple objects to this
21
            Request as overbroad and unduly burdensome because it is not limited to the
22          publicly released Apple Watch Series 3-5 devices identified and alleged in
            Plaintiffs’ infringement allegations to infringe the Asserted Patents. Apple
23
            objects to this Request as vague, ambiguous, overly broad, and unduly
24          burdensome because it uses the undefined phrase “heart rate algorithm,”
25
            which does not appear reasonably limited to the scope of infringement
            allegations in this litigation. Apple objects to this Request on the grounds that
26          it is overly broad and unduly burdensome to the extent it requests “[a]ll
27
            documents and things” relating to the subject matter of the request. Apple
            expressly preserves its objection to producing any documents or things that
28          relate to Plaintiffs’ trade secret misappropriation claim, even ifthey also relate

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1           to other claims, until Plaintiffs comply with Section 2019.210. Nonetheless,
 2
            based on this Court’s April 17, June 15, and July 14 Orders (Dkt. Nos. 37,54,
            79), Apple will withhold only documents or things that relate solely to
 3          Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply with
 4          Section 2019.210— without waiving, or intending to waive, the preceding
            objection.
 5
                   Subject to and without waiver of the foregoing General and Specific
 6          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, Apple agrees to produce documents related to
 7
            the technical features accused of infringement and responsive to the
 8          unobjectionable scope of this Request, to the extent such information exists
            and is located after a reasonably diligent search.
 9
            REQUEST FOR PRODUCTION NO. 66:
10
                   All documents and things that refer or relate to any testing and/or
11          analysis of the properties and/or characteristics of any of the Apple Watch
12          Products or any component of any of the Apple Watch Products that relate to
            pulse rate detection, pulse rate measurement, power consumption by pulse
13          rate detection, or power consumption by pulse rate measurement, including,
14          without limitation, testing protocols, reports, results, notes, and summaries.
15          RESPONSE TO REQUEST FOR PRODUCTION NO. 66:

16
                  Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
17
                    Apple objects to this Request to the extent it seeks documents and things
18          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
19
            immunity, or protection. Apple objects to this Request as overbroad and
20          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
21
            of admissible evidence. Apple objects to this Request to the extent that it seeks
22          information already in Plaintiffs’ possession or information that is obtainable
            from another source, such as publicly available materials, that is more
23
            convenient, less burdensome, or less expensive. Apple objects to this Request
24          to the extent it seeks documents related to products that are not relevant to this
25
            litigation or documents related to products Plaintiffs have not identified in
            their Complaint or otherwise accused of infringement. Apple objects to this
26          Request as overbroad and unduly burdensome because it is not limited to the
27
            publicly released Apple Watch Series 3-5 devices identified and alleged in
            Plaintiffs’ infringement allegations to infringe the Asserted Patents. Apple
28          objects to this Request on the grounds that it is overly broad and unduly

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1           burdensome to the extent it requests “[a]ll documents and things” relating to
 2
            the subject matter of the request. Apple expressly preserves its objection to
            producing any documents or things that relate to Plaintiffs’ trade secret
 3          misappropriation claim, even if they also relate to other claims, until Plaintiffs
 4          comply with Section 2019.210. Nonetheless, based on this Court’s April 17,
            June 15, and July 14 Orders (Dkt. Nos. 37,54, 79), Apple will withhold only
 5          documents or things that relate solely to Plaintiffs’ trade secret
 6          misappropriation claim until Plaintiffs comply with Section 2019.210—
            without waiving, or intending to waive, the preceding objection.
 7
                   Subject to and without waiver of the foregoing General and Specific
 8          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, Apple agrees to produce documents related to
 9
            the technical features accused of infringement and responsive to the
10          unobjectionable scope of this Request, to the extentsuch information exists
11
            and is located after a reasonably diligent search.
            REQUEST FOR PRODUCTION NO. 148:
12
                   All document and things that refer or relate to the calculation of oxygen
13          saturation in any Apple Watch Product.
14          RESPONSE TO REQUEST FOR PRODUCTION NO. 148:
15                Apple incorporates by reference its General Objections and Objections
16
            to Definitions and Instructions.
                   Apple objects to this Request to the extent it seeks documents and things
17
            protected from discovery by the attorney-client privilege, the work-product
18          doctrine, the common-interest privilege, and/or any other applicable privilege,
            immunity, or protection. Apple objects to this Request as overbroad and
19
            unduly burdensome to the extent it seeks information neither relevant to the
20          issues in the present action nor reasonably calculatedto lead to the discovery
            of admissible evidence. Apple objects to this Request to the extent it seeks
21
            documents related to products that are not relevant to this litigation or
22          documents related to products Plaintiffs have not identified in their Complaint
            or otherwise accused of infringement. Apple objects to this Request on the
23
            grounds that itis overly broad and unduly burdensome because it requests “all
24          documents and things” relating to the subject matter of the request. Apple
25
            objects to this Request because it isseeks discovery related to Plaintiffs’ patent
            infringement allegations, which have been stayed by the Court.
26
                  Subject to and without waiver of the foregoing General and Specific
27          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, to the extent this Request is even relevant to
28


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1           Plaintiffs’ patent infringement allegations,in view of the Court’s October 14,
 2
            2020 Order (Dkt. No. 220) granting Apple’s Motionto Stay, the issues related
            to Plaintiffs’ patent infringement allegations are moot and thusApple declines
 3          to respond to this Request. Additionally, to the extent this Request seeks
 4          documents related to trade secret discovery, because Plaintiffs’ Section
            2019.210 Statement, dated November 6, 2020, is deficient, including for
 5          reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
 6          Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
            Apple declines to respond to this Request at this time.
 7
            REQUEST FOR PRODUCTION NO. 149:
 8
                  Documents sufficient to show any pulse oximetry algorithms used in
 9          any of the Apple Watch Products.
10          RESPONSE TO REQUEST FOR PRODUCTION NO. 149:
11                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
12
                   Apple objects to this Request as overbroad and unduly burdensome to
13          the extent it seeks information neither relevant to the issues in the present
14
            action nor reasonably calculated to lead to the discovery of admissible
            evidence. Apple objects to this Requestto the extent it seeks documents related
15          to products that are not relevant to this litigation or documents related to
16
            products Plaintiffs have not identified in their Complaint or otherwise accused
            of infringement. Apple objects to this Request because it is seeks discovery
17          related to Plaintiffs’ patent infringement allegations, which have been stayed
18          by the Court.
                   Subject to and without waiver of the foregoing General and Specific
19
            Objections and under the provisions of the Protective Order and ESI
20          Stipulation entered in this case,in view of the Court’s October 14, 2020 Order
            (Dkt. No. 220) granting Apple’s Motionto Stay, the issues related to Plaintiffs’
21
            patent infringement allegations are moot and thusApple declines to respond to
22          this Request. Additionally, to the extent this Request seeksdocuments related
            to trade secret discovery, because Plaintiffs’ Section 2019.210 Statement,
23
            dated November 6, 2020, is deficient, including for reasons identified in
24          Apple’s October 16, 2020 letter, and the Court stayed Plaintiffs’ trade secret
25
            discovery pending compliance with Section 2019.210, Apple declines to
            respond to this Request at this time.
26
            REQUEST FOR PRODUCTION NO. 150:
27                All documents and things that refer or relate to selection between any
28          pulse oximetry algorithm used in any of the Apple Watch Products.

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1           RESPONSE TO REQUEST FOR PRODUCTION NO. 150:
 2                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
 3
                   Apple objects to this Request to the extent it seeks documents and things
 4
            protected from discovery by the attorney-client privilege, the work-product
 5          doctrine, the common-interest privilege, and/or any other applicable privilege,
            immunity, or protection. Apple objects to this Request as overbroad and
 6
            unduly burdensome to the extent it seeks information neither relevant to the
 7          issues in the present action nor reasonably calculatedto lead to the discovery
            of admissible evidence. Apple objects to this Request as vague, ambiguous,
 8
            overly broad, and unduly burdensome, including because it uses the undefined
 9          phrase “selection between any pulse oximetry algorithm.” Apple objects to
            this Request to the extent it seeks documents related to products that are not
10
            relevant tothis litigation or documents related to products Plaintiffs have not
11          identified in their Complaint or otherwise accused of infringement. Apple
            objects to this Request on the grounds that it is overly broad and unduly
12
            burdensome because it requests “all documents and things” relating to the
13          subject matter of the request. Apple objects to thisRequest because it is seeks
            discovery related to Plaintiffs’ patent infringement allegations, which have
14
            been stayed by the Court.
15                 Subject to and without waiver of the foregoing General and Specific
16          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case,in view of the Court’s October 14, 2020 Order
17
            (Dkt. No. 220) granting Apple’s Motionto Stay, the issues related to Plaintiffs’
18          patent infringement allegations are moot and thusApple declines to respond to
            this Request. Additionally, to the extent this Request seeksdocuments related
19
            to trade secret discovery, because Plaintiffs’ Section 2019.210 Statement,
20          dated November 6, 2020, is deficient, including for reasons identified
            Apple’s October 16, 2020 letter, and the Court stayed Plaintiffs’ trade secret
21
            discovery pending compliance with Section 2019.210, Apple declines to
22          respond to this Request at this time.
23          REQUEST FOR PRODUCTION NO. 151:
24                All documents and things that refer or relate to power consumption by
            any pulse oximetry algorithm used in any of the Apple Watch Products.
25
            RESPONSE TO REQUEST FOR PRODUCTION NO. 151:
26
                  Apple incorporates by reference its General Objections and Objections
27          to Definitions and Instructions.
28


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1                   Apple objects to this Request to the extent it seeks documents and things
 2
            protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
 3          immunity, or protection. Apple objects to this Request as overbroad and
 4          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
 5          of admissible evidence. Apple objects to this Request as vague,ambiguous,
 6          overly broad, and unduly burdensome, including because it uses the undefined
            phrase “power consumption by any pulse oximetry algorithm.” Apple objects
 7          to this Request to the extent it seeks documents related to products that are not
 8          relevantto this litigation or documents related to products Plaintiffs have not
            identified in their Complaint or otherwise accused of infringement. Apple
 9          objects to this Request on the grounds that it is overly broad and unduly
10          burdensome because it requests “all documents and things” relating to the
            subject matter of the request. Apple objects to thisRequest because it is seeks
11          discovery related to Plaintiffs’ patent infringement allegations, which have
12          been stayed by the Court.

13
                   Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
14          Stipulation entered in this case,in view of the Court’s October 14, 2020 Order
15
            (Dkt. No. 220) granting Apple’s Motionto Stay, the issues related to Plaintiffs’
            patent infringement allegations are moot and thus Apple declines to respond to
16          this Request. Additionally, to the extent this Request seeksdocuments related
17          to trade secret discovery, because Plaintiffs’ Section 2019.210 Statement,
            dated November 6, 2020, is deficient, including for reasons identified in
18          Apple’s October 16, 2020 letter, and the Court stayed Plaintiffs’ trade secret
19          discovery pending compliance with Section 2019.210, Apple declines to
            respond to this Request at this time.
20
            REQUEST FOR PRODUCTION NO. 153:
21
                  All documents and things that refer or relate to the operation of any
22          LEDs used to determine oxygen saturation for any Apple Watch Product,
            including but not limited to documents and things that refer or relate to LED
23
            timing, duty cycle, current, or power usage.
24          RESPONSE TO REQUEST FOR PRODUCTION NO. 153:
25                Apple incorporates by reference its General Objections and Objections
26          to Definitions and Instructions.

27
                  Apple objects to this Request to the extent it seeks documents and things
            protected from discovery by the attorney-client privilege, the work-product
28          doctrine, the common-interest privilege, and/or any other applicable privilege,

                                                  -15-
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1           immunity, or protection. Apple objects to this Request as overbroad and
 2
            unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
 3          of admissible evidence. Apple objects to this Request to the extent it seeks
 4          documents related to products that are not relevant to this litigation or
            documents related to products Plaintiffs have not identified in their Complaint
 5          or otherwise accused of infringement. Apple objects to this Request on the
 6          grounds that it is overly broad and unduly burdensome because it requests “all
            documents and things” relating to the subject matter of the request. Apple
 7          objects to this Request because it isseeks discovery related to Plaintiffs’ patent
 8          infringement allegations, which have been stayed by the Court.
                   Subject to and without waiver of the foregoing General and Specific
 9
            Objections and under the provisions of the Protective Order and ESI
10          Stipulation entered in this case, to the extent this Request is even relevant to
11
            Plaintiffs’ patent infringement allegations,in view of the Court’s October 14,
            2020 Order (Dkt. No. 220) granting Apple’s Motionto Stay, the issues related
12          to Plaintiffs’ patent infringement allegations are moot and thusApple declines
13
            to respond to this Request. Additionally, to the extent this Request seeks
            documents seeks documents related to trade secret discovery, because
14          Plaintiffs’ Section 2019.210 Statement, dated November 6, 2020, is deficient,
15
            including for reasons identified in Apple’s October 16, 2020 letter, and the
            Court stayed Plaintiffs’ trade secret discovery pending compliance with
16          Section 2019.210, Apple declines to respond to this Request at this time.
17          REQUEST FOR PRODUCTION NO. 154:
18                 All documents and things that refer or relate to any testing and/or
            analysis of the properties and/or characteristics of any Apple Watch Product
19
            or any component of any Apple Watch Product that relate to pulse oximetry
20          or power consumption by pulse oximetry, including, without limitation,
            testing protocols, reports, results, notes, and summaries.
21
            RESPONSE TO REQUEST FOR PRODUCTION NO. 154:
22
                  Apple incorporates by reference its General Objections and Objections
23          to Definitions and Instructions.
24                 Apple objects to this Request to the extent it seeks documents and things
25
            protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
26          immunity, or protection. Appleobjects to this Request as overbroad and
27
            unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
28          of admissible evidence. Apple objects to this Request to the extent it seeks

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1           documents related to products that are not relevant to this litigation or
 2
            documents related to products Plaintiffs have not identified in their Complaint
            or otherwise accused of infringement. Apple objects to this Request on the
 3          grounds that itis overly broad and unduly burdensome because it requests “all
 4          documents and things” relating to the subject matter of the request. Apple
            objects to this Request because it isseeks discovery related to Plaintiffs’ patent
 5          infringement allegations, which have been stayed by the Court.
 6                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
 7
            Stipulation entered in this case,in view of the Court’s October 14, 2020 Order
 8          (Dkt. No. 220) granting Apple’s Motionto Stay, the issues related to Plaintiffs’
            patent infringement allegations are moot and thusApple declines to respond to
 9
            this Request. Additionally, to the extent this Request seeksdocuments related
10          to trade secret discovery, because Plaintiffs’ Section 2019.210 Statement,
11
            dated November 6, 2020, is deficient, including for reasons identified in
            Apple’s October 16, 2020 letter, and the Court stayed Plaintiffs’ trade secret
12          discovery pending compliance with Section 2019.210, Apple declines to
13
            respond to this Request at this time.
            REQUEST FOR PRODUCTION NO. 172:
14
                   All documents and things referring to performance of the pulse
15          oximetry feature in the Apple Watch Series 6, including documents relating
16          or referring to whether the pulse oximetry feature in the Apple Watch Series
            6 accurately or reliably measures blood oxygen levels.
17
            RESPONSE TO REQUEST FOR PRODUCTION NO. 172:
18
                  Apple incorporates by reference its General Objections and Objections
19          to Definitions and Instructions.
20                 Apple objects to this Request to the extent it seeks documents and things
            protected from discovery by the attorney-client privilege, the work-product
21
            doctrine, the common-interest privilege, and/or any other applicable privilege,
22          immunity, or protection. Apple objects to this Request as overbroad and
            unduly burdensome to the extent it seeks information neither relevant to the
23
            issues in the present action nor reasonably calculatedto lead to the discovery
24          of admissible evidence. Apple objects to this Request to the extent that it seeks
25
            information already in Plaintiffs’ possession or information that is obtainable
            from another source, such as publicly available materials, that is more
26          convenient, less burdensome, or less expensive. Apple objects to this Request
27
            as overbroad and unduly burdensome to the extent it seeks documents not
            within Apple’s possession, custody, or control. Apple objects to this Request
28          on the grounds that it is overly broad and unduly burdensome because it

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1           requests “all documents and things” referring to the subject matter of the
 2
            request. Apple objects to this Request because it is seeks discovery related to
            Plaintiffs’ patent infringement allegations, which have been stayed by the
 3          Court.
 4                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
 5
            Stipulation entered in this case,in view of the Court’s October 14, 2020 Order
 6          (Dkt. No. 220) granting Apple’s Motionto Stay, the issues related to Plaintiffs’
            patent infringement allegations are moot and thusApple declines to respond to
 7
            this Request. Additionally, to the extent this Request seeksdocuments related
 8          to trade secret discovery, because Plaintiffs’ Section 2019.210 Statement,
            dated November 6, 2020, is deficient, including for reasons identified in
 9
            Apple’s October 16, 2020 letter, and the Court stayed Plaintiffs’ trade secret
10          discovery pending compliance with Section 2019.210, Apple declines to
11
            respond to this Request at this time.
            REQUEST FOR PRODUCTION NO. 186:
12
                  Documents sufficient to identify any
13          process that You have implemented or ever considered implementing in the
14          Accused Products.
15          RESPONSE TO REQUEST FOR PRODUCTION NO. 186:

16
                  Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
17
                   Apple objects to this Request to the extent it seeks documents and things
18          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the commoninterest privilege, and/or any other applicable privilege,
19
            immunity, or protection. Apple objects to this Request as overbroad and
20          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculate to lead to the discovery
21
            of admissible evidence and is not limited to any relevant time period. In
22          addition, Apple objects to this Request as vague and ambiguous, including
            because Plaintiffs have not complied with Section 2019.210 and thus have not
23
            adequately identified what “                                     ” techniques or
24          processes they are claiming as trade secrets. Apple objects to this Request to
25
            the extent it is duplicative and/or cumulative of Plaintiffs’ Request for
            Production Nos. 182-83.
26
                  Subject to and without waiver of the foregoing General and Specific
27          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, to the extent this Request is even relevant to
28


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1           Plaintiffs’ patent infringement allegations,in view of the Court’s October 14,
 2
            2020 Order (Dkt. No. 220) granting Apple’s Motionto Stay, the issues related
            to Plaintiffs’ patent infringement allegations are moot and thusApple declines
 3          to respond to this Request. Additionally, to the extent this Request seeks
 4          documents related to trade secret discovery, because Plaintiffs’ Section
            2019.210 Statement, dated November 6, 2020, is deficient, including for
 5          reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
 6          Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
            Apple declines to respond to this Request at this time.
 7

 8    A.    Plaintiffs’ Position
 9          Parties “may obtain discovery regarding any nonprivileged matter that is relevant to
10    any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P.
11    26(b)(1). The propounding party bears an initial burden of making a “minimal showing of
12    relevance.” DeSilva v. Allergan USA, Inc., 2020 WL 5947827, at *3 (C.D. Cal. Sept. 1,
13    2020). “Once the minimal showing of relevance is made, ‘[t]he party who resists discovery
14    has the burden to show that discovery should not be allowed, and has the burden of
15    clarifying, explaining, and supporting its objections.’” Id. (quoting DIRECTV, Inc. v.
16    Trone, 209 F.R.D. 455, 458 (C.D. Cal. 2002)). As discussed below, RFPs 63-66, 148-151,
17    153, 154, 172, and 186 seek relevant information and are proportional to the needs of the
18    case. Apple raises a number of objections and attempts to limit its production, but fails to
19    show discovery should be limited.
20          1.     RFPs 63-66, 148-151, 153, 154, 172, And 186 Seek Relevant Information
21                 And Are Proportional To The Needs Of The Case
22          RFPs 63-66, 148-151, 153, 154, 172, and 186 seek information about specific
23    physiological monitoring features at issue in this case. RFPs 63-66 seek documents about
24    Apple’s heart rate/pulse rate algorithms, selecting between separate heart rate/pulse rate
25    algorithms, power consumption of heart rate/pulse rate algorithms, and testing of heart
26    rate/pulse rate algorithms. RFPs 148-151, 153, 154, and 172 similarly seek documents
27    about Apple’s oxygen saturation algorithms, selecting between separate oxygen saturation
28    algorithms, power consumption of oxygen saturation algorithms, LED timing for the

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 3            These RFPs are also proportional to the needs of this case. Rule 26 instructs that
 4    courts are to consider “the importance of the issues at stake in the action, the amount in
 5    controversy, the parties’ relative access to relevant information, the parties’ resources, the
 6    importance of the discovery in resolving the issues, and whether the burden or expense of
 7    the proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 27(b)(1). As
 8    discussed above, the discovery requests seek relevant information about the technical
 9    operation of key algorithms at issue in this case. The accused product (the Apple Watch)
10    is the primary product in Apple’s “wearables” division, which has revenues of nearly $13
11    billion per quarter. Ex. 34 at 2. The requested technical information is also in Apple’s
12    exclusive possession. Finally, Apple is worth $2 trillion and is the most valuable public
13    company on earth. Ex. 35 at 2. Apple cannot claim that it lacks the resources to gather the
14    requested information. Thus, these RFPs are relevant and proportional to the needs of the
15    case.
16            2.    Apple’s Objections and Limitations Lack Merit
17            Apple’s written responses included pages of boilerplate objections. Such “general
18    or boilerplate objections” are improper. Nguyen v. Lotus by Johnny Dung Inc., 2019 WL
19    4579259, at *3 (C.D. Cal. June 7, 2019). During the meet and confer, Apple relied on a
20    handful of its objections to unilaterally limit its production. Apple’s objections and
21    limitations each lack merit.
22                  a.    Heart Rate Is Relevant To This Case
23            Apple argues RFPs 63-66 do not seek relevant information because information
24    related to “heart rate” or “pulse rate” algorithms is “not relevant to the claims and defenses”
25    in this case. Ex. 24 at 8-9. Apple argues
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 7    But Plaintiffs are entitled to discovery to test Apple’s assertion. Apple’s unsubstantiated
 8    argument that Plaintiffs’ claim will fail on the merits does not provide a basis to refuse
 9    discovery. Carrizosa v. Stassinos, 2006 WL 1581953, at *2 (N.D. Cal. June 6, 2006)
10    (explaining “the propriety of discovery does not turn on one party’s belief that the claims
11    are without merit”); Manzo v. Cty. of Santa Clara, 2019 WL 2866047, at *2 (N.D. Cal.
12    July 3, 2019) (explaining “the Court does not assess the ultimate merits of
13    the claim or defense” for motions to compel); Elkin v. New York Life Ins. Co., 2017 WL
14    4047235, at *2 (C.D. Cal. Sept. 8, 2017) (“[T]he current motion presents a discovery
15    dispute, and the Court is not resolving the merits of the parties’ claims and defenses.”). If
16    Apple’s assertions are correct, it should be anxious to provide the information requested
17    by Plaintiffs to purportedly show it has not misappropriated Plaintiffs’ trade secrets.
18          Plaintiffs also disagree with Apple’s attempt to mischaracterize Plaintiffs’ trade
19    secrets.
20

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25                                               While Plaintiffs have alleged Apple uses these
26    techniques in the Apple Watch, Apple is also liable for misappropriation if it “unlawfully
27    acquired and then built upon or modified [the trade secret] before being disclosed or benefit
28    derived.” SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D. Cal. Apr.

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1     23, 2012). Similarly, Apple can be liable even if it merely considered Plaintiffs’ trade
 2    secrets and ultimately decided not to implement them. PMC, Inc. v. Kadisha, 78 Cal. App.
 3    4th 1368, 1383 (2000) (explaining that improper “use” of a trade secret includes
 4    “[e]mploying the confidential information” in almost any way, including in “research or
 5    development”).
 6          Plaintiffs are entitled to discovery on Apple’s pulse rate algorithm so that
 7    Plaintiffs—not Apple—can evaluate misappropriation.               Apple’s unsubstantiated
 8    arguments do not show why discovery should be limited. The Court should overrule
 9    Apple’s relevance objection to RFPs 63-65.
10                 b.    Earlier Versions Of The Apple Watch Are Discoverable
11          Apple argues RFPs 63-66, 148-151, 153, 154, 172, and 186 are overbroad because
12    they seek information about all versions of the Apple Watch, rather than the Series 4 and
13    later devices accused of misappropriating Plaintiffs’ trade secrets. Based on that objection,
14    Apple limited its production with respect to the Series 3 and earlier watches to include only
15    “source code” sufficient to show the “relevant operation and functions of the Apple
16    Watch.” Ex. 24 at 9.
17          Apple’s objection and limitation are inappropriate because earlier versions of the
18    Apple Watch are relevant and discoverable. First, Plaintiffs are entitled to engage in
19    discovery to uncover trade-secret misappropriation of which they are not aware. See, e.g.,
20    Perlan Therapeutics, Inc. v. Superior Court, 178 Cal. App. 4th 1333, 1350 n.12 (2009)
21    (crediting plaintiff’s concerns regarding “constrain[ed]” discovery that “prevent[s]
22    [plaintiff] from ever finding out about trade secrets that were stolen”); compare Kaneka
23    Corp. v. Zhejiang Med. Co., 2016 WL 11266869, at *4 (C.D. Cal. Oct. 18, 2016) (in the
24    patent context “courts have frequently held that discovery is permitted regarding
25    comparable patents or products”); Fresenius Med. Care v. Holding Inc. v. Baxter Int’l Inc.,
26    224 F.R.D. 644, 652–3 (N.D. Cal. 2004) (granting discovery on products “comparable” to
27    those accused of patent infringement). In addition, Apple’s limitation of discovery on the
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1     earlier watches to a portion of their source code is arbitrary and without basis in any
 2    relevance argument.
 3          Second, many of Plaintiffs’ allegations focus on the actions of a former employee of
 4    Plaintiffs, Marcelo Lamego, who worked at Apple in 2014 when Apple was working on
 5    the original Series 1 Apple Watch. Documents showing Lamego advocated that Apple
 6    should implement Plaintiffs’ trade secrets would constitute use of Plaintiffs’ trade secrets
 7    even if Apple did not ultimately incorporate the trade secrets in that version of the watch.
 8    See PMC, 78 Cal. App. 4th at 1383 (explaining that improper “use” of a trade secret
 9    includes “[e]mploying the confidential information” in almost any way, including in
10    “research or development”); SkinMedica, 869 F. Supp. 2d at 1197 (“information may be
11    improperly ‘used’ in that it is unlawfully acquired and then built upon or modified before
12    being disclosed or benefit derived”). If Apple excludes documents about earlier watches,
13    then Plaintiffs may not learn of such uses of Plaintiffs’ trade secrets.
14          Third, Plaintiffs’ requested discovery is also relevant because Plaintiffs are entitled
15    to discovery as to changes and comparisons between earlier watches and the Series 4 and
16    later watches. Plaintiffs allege Apple modified its earlier versions of the watch to improve
17    the physiological monitoring features in the later versions. Ex. 26 ¶¶ 25, 238. Apple’s
18    changes over time may also rebut Apple’s defense that it independently developed
19    Plaintiffs’ trade secrets. Ex. 27 ¶ 377. Understanding when and why Apple made design
20    changes that incorporated Plaintiffs’ trade secrets will also be important to showing the
21    importance of those changes for Plaintiffs’ damages calculation.
22          Because Apple has no valid objection, Apple cannot limit its production to only
23    include source code for the Series 3 and earlier watches. See Kilroy v. L.A. Unified Sch.
24    Dist. Bd. of Educ., 2018 WL 6071089, at *1 (C.D. Cal. Mar. 7, 2018) (“If the responding
25    party does not offer a valid objection, it must produce all requested documents that are in
26    its possession, custody, or control.”). Indeed, these requests appropriately seek more than
27    just Apple’s source code. In addition to physiological monitoring algorithms actually
28    implemented, which could potentially be discoverable from source code, these requests

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1     seek information about algorithms Apple considered, testing or analysis of Apple’s rate
 2    algorithm, the performance of Apple’s algorithms, and customer evaluation of Apple’s
 3    performance. Apple has not shown why discovery should be limited. The Court should
 4    overrule Apple’s objection to RFPs 63-66, 86, 148-151, 153, 154, 172, and 186.
 5                 c.     Apple’s Section 2019.210 Limitation Lacks Merit
 6          Apparently relying on the objections discussed above, Apple has stated it will
 7    produce documents for many RFPs “only to the extent they relate to the alleged trade
 8    secrets in Plaintiffs’ Section 2019.210 disclosure.” Ex. 24 at 8-9. As discussed, however,
 9    Apple has no valid objections to these RFPs. Thus, Apple cannot limit discovery to what
10    Apple asserts is “relevant” to Plaintiffs’ Section 2019.210. See Kilroy, 2018 WL 6071089,
11    at *1 (“If the responding party does not offer a valid objection, it must produce all requested
12    documents that are in its possession, custody, or control.”).
13          Apple’s limitation is also inappropriate because Section 2019.210 is a procedural
14    requirement to “commenc[e] discovery”—not a basis to withhold documents. See Cal.
15    Civ. P. Code § 2019.210. As the California Court of Appeal explained, the “designation
16    should be liberally construed, and reasonable doubts about its sufficiency resolved in favor
17    of allowing discovery to go forward.” Brescia v. Angelin, 172 Cal. App. 4th 133, 149
18    (2009); Advanced Modular Sputtering, Inc. v. Superior Court, 132 Cal. App. 4th 826, 837
19    (2005) (“Any doubt about discovery is to be resolved in favor of disclosure.”).
20          The California Court of Appeal also explained the scope of discovery is broader than
21    the specific trade secrets identified in a Section 2019.210 disclosure.           See Perlan
22    Therapeutics, 178 Cal. App. 4th at 1333. In requiring a plaintiff to identify its trade secrets
23    with “reasonable particularity,” the court explained that “[i]f, through discovery, [Plaintiff]
24    uncovers information suggesting defendants misappropriated additional trade secrets, it
25    may have good cause to amend its trade secret statement under appropriate circumstances.”
26    Id. at 1350. The court credited plaintiff’s concern that a narrow identification of trade
27    secrets could “constrain[]” discovery and “prevent [plaintiff] from ever finding out about
28    trade secrets that were stolen.” Id. at 1351, n.12. The Court addressed that concern by

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1     explaining “it is important to remember that the parties may conduct discovery ‘regarding
 2    any matter, not privileged, that is relevant to the subject matter involved in the pending
 3    action . . . if the matter either is itself admissible in evidence or appears reasonably
 4    calculated to lead to the discovery of admissible evidence.’” Id. (modification in original).2
 5          Apple has previously cited Computer Econ., Inc. v. Gartner Grp., Inc., 50 F. Supp.
 6    2d 980, 985 (S.D. Cal. 1999), for the proposition that one purpose of Section 2019.210 is
 7    to “fram[e] the appropriate scope of discovery and in determining whether plaintiff’s
 8    discovery requests fall within that scope.” That may be true, but it does not provide a basis
 9    for Apple to withhold discovery as to particular documents based on Apple’s unilateral
10    decision that the document does not relate to Plaintiffs’ Section 2019.210 statement. A
11    Section 2019.210 statement guides the Court’s decision as to whether a discovery request
12    seeks relevant documents much like a patent claim guides discovery in a patent case. Once
13    the Court has determined that a request seeks relevant information, however, the defendant
14    cannot withhold particular responsive documents merely because the defendant
15    unilaterally contends that they do not directly relate to a particular trade secret. Such an
16    approach would enable a defendant to unilaterally create undisclosed gaps in its document
17    production, with the opposing party having no ability to challenge the withheld discovery.
18          Permitting Apple to unilaterally withhold specific documents based on Section
19    2019.210 would be extremely prejudicial because Apple has already shown it has an
20    unduly narrow view of relevance. As discussed, Apple has already improperly withheld
21    discovery on its pulse rate algorithm just because it believes it does not misappropriate
22    Plaintiffs’ trade secrets. See Section II.A.2.a, supra. Apple also argued it should not have
23    to produce documents showing it “considered” Plaintiffs’ trade secrets because
24

25
      2
26     The discovery standard in state court differs from federal court, but Perlan still shows the
      scope of discovery is broader than Section 2019.210. Here, Plaintiffs here are entitled to
27    “discovery regarding any nonprivileged matter that is relevant to any party’s claim or
28    defense and proportional to the needs of the case . . . .” Fed. R. Civ. P. 26(b).


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1     “considering is not relevant.” Ex. 22 at 5. As discussed, that is contrary to law. See PMC,
 2    78 Cal. App. 4th at 1383; SkinMedica, 869 F. Supp. 2d at 1197. Apple’s limitation would
 3    also allow it to withhold evidence showing it misappropriated other trade secrets of which
 4    Plaintiffs are not yet aware. Plaintiffs are entitled to learn of such additional acts of
 5    misappropriation. See Perlan Therapeutics, 178 Cal. App. 4th at 1350.
 6          Accordingly, Apple has not shown why discovery should be limited. The Court
 7    should overrule Apple’s objections and order Apple to produce all responsive documents.
 8    B.    Apple’s Position
 9          To prevail on a motion to compel, “the moving party bears the burden of
10    demonstrating that it is entitled to the requested discovery and that it has satisfied
11    proportionality and other requirements of Rule 26.” In re Glumetza Antitrust Litig., 2020
12    WL 3498067, at *7 (N.D. Cal. June 29, 2020), motion for relief from judgment denied,
13    2020 WL 4362247 (N.D. Cal. July 22, 2020). The scope of discovery under Rule 26 is not
14    unlimited. Liberty Ins. Corp. v. Sw. Traders Incorp., 2013 WL 12140335, at *2 (C.D. Cal.
15    Aug. 27, 2013). The Court “need not condone the use of discovery to engage in ‘fishing
16    expedition[s].’” Rivera v. Nibco, Inc., 364 F.3d 1057, 1072 (9th Cir. 2004) (citation
17    omitted). “Rule 26 vests the trial judge with broad discretion to tailor discovery narrowly
18    and dictate its sequence.” Valenzuela v. City of Calexico, 2015 WL 926149, at *2 (S.D.
19    Cal. Mar. 4, 2015) (citing Crawford-El v. Britton, 523 U.S. 574, 598 (1998)). At bottom,
20    “the purpose of discovery is to remove surprise from trial preparation so the parties can
21    obtain evidence necessary to evaluate and resolve their dispute.” DeSilva v. Allergan USA,
22    Inc., 2020 WL 5947827, at *2 (C.D. Cal. Sept. 1, 2020) (citing Duran v. Cisco Sys., Inc.,
23    258 F.R.D. 375, 378 (C.D. Cal. 2009)). None of the RFPs at issue satisfy these standards.
24          Several of Plaintiffs’ RFPs do not belong in this motion, because Apple already
25    agreed to produce (and started to produce) the requested documents. As for the remaining
26    RFPs, Plaintiffs cannot show that the discovery requests seek evidence necessary to resolve
27    the trade secret disputes in this case, id., because the requests seek information that goes
28    far beyond the alleged trade secrets identified in Plaintiffs’ Section 2019.210 disclosure.

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1     Plaintiffs challenge the applicability of Section 2019.210, but as explained in detail below,
 2    the law is clear that Section 2019.210 is intended to frame discovery in a trade secret case.
 3    Plaintiffs’ requests, which they admit go beyond the described functionality in their alleged
 4    trade secrets—are impermissibly overbroad. The requests are not relevant to Plaintiffs’
 5    trade secret misappropriation claim or proportional to the needs of this case. Fed. R. Civ.
 6    P. 26(b)(1). Apple has already agreed to produce (and started to produce) responsive
 7    documents that are related to Plaintiffs’ alleged trade secrets. Plaintiffs are not entitled to
 8    more, and the Court therefore should deny Plaintiffs’ motion to compel production in
 9    response to RFPs 63–66, 148–151, 153, 154, 172, and 186.
10          1.     RFPs 148–149 and 186 Are Not in Dispute
11          Plaintiffs are moving to compel with respect to RFPs 148–149 and 186, even though
12    Apple already agreed to produce (and started to produce) the requested documents. Apple
13    informed Plaintiffs that Apple intended to respond to the RFPs with the documents
14    requested—to the extent in Apple’s possession, custody, and control, and located following
15    a reasonable search—but Plaintiffs for some reason chose to include the RFPs in this
16    motion in any event. Apple has nothing further to produce in response to these RFPs than
17    that which it has already produced or is preparing to produce.
18          RFPs 148-149. RFPs 148 and 149 concern the calculation of oxygen saturation by
19    the Apple Watch. RFP 148 requests “[a]ll document and things that refer or relate to the
20    calculation of oxygen saturation in any Apple Watch Product,” and RFP 149 requests
21    “[d]ocuments sufficient to show any pulse oximetry algorithms used in any of the Apple
22    Watch Products.” J.S. 12–13. Apple agreed to produce documents responsive to both
23    requests. As Apple understands it, Plaintiffs’ complaint is that Apple’s agreement to
24    produce was limited to the Series 4 and later versions of the Apple Watch—and that, with
25    respect to the Series 3 and earlier versions of the Apple Watch, Apple agreed to produce
26    only certain source code. Id. at 23–25. But it is undisputed that the only version of the
27    Apple Watch that calculates oxygen saturation is the Series 6, which was only just released
28    on September 18, 2020. Plaintiffs’ Ex. 26 at 271 (¶ 25) (acknowledging that the Series 6

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1     Apple Watch was released on September 18, 2020); id. at 349, (¶ 238) (acknowledging that
 2    “                                                                    ”). Accordingly, both
 3    RFPs are inherently limited to the Series 6 Apple Watch, about which Apple already agreed
 4    to produce documents. Indeed, Apple has already begun producing technical documents
 5    related to the oxygen saturation calculation feature of the Series 6 Watch. Samplin Decl.
 6    ¶ 10 (exemplary documents produced by Apple that are responsive to these RFPs include
 7    APL-MAS_00090783 and APL-MAS_00090817).                  Apple also made available for
 8    inspection the Series 6 Watch source code that relates to calculating oxygen saturation,
 9    which Plaintiffs already spent days inspecting. Id. ¶¶ 13–16 & Exs. H–K. Apple is not
10    withholding any documents responsive to these RFPs. Plaintiffs’ motion with respect to
11    these RFPs therefore should be denied as moot.
12          RFP 186. RFP 186 seeks “[d]ocuments sufficient to identify any
13                     process that [Apple] ha[s] implemented or ever considered implementing
14    in the Accused Products.” Plaintiffs defined “Accused Products” as “Apple Watch Series
15    3 or later, as well as the combination of Apple Watch Series 4 or later with an Apple
16    iPhone.” Plaintiffs’ Ex. 3, at 36. Apple has already produced technical documents
17    sufficient to identify any                                   process used by the Series 4
18    Watch or later, to the extent there is any such use, and has agreed to produce corresponding
19    documents for the Series 3 Watch. Samplin Decl. ¶ 11 (exemplary documents produced
20    by Apple that are responsive to this RFP include APL-MAS_00089399, APL-
21    MAS_00089233, APL-MAS_00089075, APL-MAS_00088927, APL-MAS_00028917,
22    APL-MAS_00077637, APL-MAS_00100273, APL-MAS_00099916).                        In addition,
23    Plaintiffs have had access to Apple’s source code for WatchOS versions 4–6 (which run
24    on the Series 3–5 Apple Watch products) since last August, and Apple’s source code for
25    the WatchOS version 7 (used on the Series 6 Watch) since last October. Id. ¶¶ 12–16 &
26    Exs. G–K. Apple is not withholding any documents responsive to this RFP. Plaintiffs’
27    motion with respect to this RFP therefore should be denied as moot.
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1           2.     Section 2019.210 Frames the Boundaries of Permissible Trade Secret
 2                 Discovery
 3          The remainder of the RFPs at issue in this section of the motion—RFPs 63-66, 150,
 4    153, 154, and 172—exceed the boundaries of permissible trade secret discovery, as
 5    demonstrated by the fact that they are completely untethered to Plaintiffs’ Section 2019.210
 6    disclosure. Plaintiffs’ response ignores the relevant case law and the role that Section
 7    2019.210 is intended to play in the discovery process.
 8          Rule 26(b) requires that discovery be relevant to the claim at issue. See Cancino
 9    Castellar v. McAleenan, 2020 WL 1332485, at *5 (S.D. Cal. Mar. 23, 2020) (“Regardless
10    of its broad nature, however, relevance is not without ‘ultimate and necessary boundaries,’”
11    so “courts often link the elements of a cause of action with the discovery sought.”). And
12    in trade secret cases like this one, Section 2019.210 “fram[es] the appropriate scope of
13    discovery” and assists “in determining whether plaintiff’s discovery requests fall within
14    that scope.” Computer Econ., Inc. v. Gartner Grp., Inc., 50 F. Supp. 2d 980, 985 (S.D.
15    Cal. 1999). In other words, a Section 2019.210 statement “delineate[s] the scope of
16    permissible discovery.” Id. at 992; see also BioD, LLC v. Amnio Tech., LLC, 2014 WL
17    3864658, at *5 (D. Ariz. Aug. 6, 2014) (explaining that a Section 2019.210 disclosure
18    serves to limit discovery “to ensure that plaintiffs are not on a fishing expedition” and so
19    that “the court and defendants can discern the relevancy of plaintiffs’ discovery requests”
20    (emphasis added)); Advante Int’l Corp v. Mintel Learning Tech., 2006 WL 3371576, at *3
21    n.4 (N.D. Cal. Nov. 21, 2006) (Cal. Civ. Proc. Code § 2019.210 “provides an appropriate
22    guide in the absence of specific provisions in the federal rules governing trade secret
23    discovery.”); Advanced Modular Sputtering, Inc. v. Superior Court, 132 Cal. App. 4th 826,
24    835 (2005) (explaining that a Section 2019.210 statement “is not itself a pleading but it
25    functions like one in a trade secret case because it limits the scope of discovery in much
26    the same way as the allegations of a complaint limit discovery in other types of civil
27    actions”); Diodes, Inc. v. Franzen, 260 Cal. App. 2d 244, 253 (Ct. App. 1968) (noting that
28    one purpose of a trade secret description is “to give both the court and the defendant . . .

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1     reasonable guidance in ascertaining the scope of appropriate discovery”). Plaintiffs’ RFPs
 2    in this trade secret case must relate to the alleged secrets described in their Section
 3    2019.210 statement. Plaintiffs’ alternative reading of Section 2019.210 would render the
 4    statute a nullity.
 5           Plaintiffs first argue that they need not limit their discovery requests to their alleged
 6    trade secrets because “Section 2019.210 is a procedural requirement to ‘commenc[e]
 7    discovery.’” J.S. 2, 25. But it would make no sense for Section 2019.210 to prevent
 8    commencement of discovery until Plaintiffs sufficiently describe their alleged trade
 9    secrets, but then throw open the doors to discovery that is untethered to those alleged
10    secrets. The caselaw is clear that Section 2019.210 not only controls commencement of
11    discovery in a trade secret case, but also guides the discovery process. See, e.g., Computer
12    Econ., 50 F. Supp. 2d at 985 (Section 2019.210 “assists the court in framing the appropriate
13    scope of discovery and in determining whether plaintiff's discovery requests fall within that
14    scope”); see also Diodes, Inc., 260 Cal. App. 2d at 253 (explaining that a plaintiff “should
15    describe the subject matter of the trade secret . . . . to provide reasonable guidance in
16    ascertaining the scope of appropriate discovery”).
17           Plaintiffs next argue that California cases support their argument that “the scope of
18    discovery is broader than the specific trade secrets identified in a Section 2019.210
19    disclosure.” J.S. 25–26. Plaintiffs are wrong. Nothing in Perlan Therapeutics, Inc. v.
20    Superior Ct., 178 Cal. App. 4th 1333, 1350 (2009), J.S. 25, indicates that Plaintiffs can
21    propound discovery in a trade secret case that is unrelated to the alleged trade secrets. The
22    Perlan court merely suggested that if a plaintiff discovers additional misappropriation
23    during discovery, “it may have good cause to amend its trade secret statement under
24    appropriate circumstances.” Perlan, 178 Cal. App. 4th at 1350. The case proves Apple’s
25    point—as there would be no need to amend a trade secret disclosure after discovery
26    commences if that disclosure plays no role in the ongoing discovery process. Indeed, the
27    Perlan court explained that it is the trade secret plaintiff who controls the scope of
28    discovery to which it is entitled—by choosing how to describe the trade secrets at issue in

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1     the Section 2019.210 disclosure. See id. n.12 (confirming that it was “conceivable” that a
 2    narrow trade secret description “could theoretically prevent” a plaintiff from learning about
 3    additional misappropriation).
 4          Plaintiffs’ attempt to distinguish Computer Economics, Inc. v. Gartner Group., Inc.
 5    also fails. Relying on that case, Plaintiffs inexplicably argue that discovery should not be
 6    tied to their trade secret description because a “Section 2019.210 statement guides the
 7    Court’s decision as to whether a discovery request seeks relevant documents,” J.S. 26
 8    (emphasis added)—implying that Section 2019.210 can assist only the Court, and not a
 9    defendant, in that regard. But this distinction makes no sense and is wrong as a matter of
10    law. To the extent Plaintiffs are suggesting that Apple should ask the Court to rule on the
11    scope of each discovery request it receives from Plaintiffs in reference to the Section
12    2019.210 disclosure before undertaking its own evaluation of the scope of that request,
13    such a proposition is absurd and unworkable. Plaintiffs’ assertion that Apple cannot
14    evaluate the relevance of Plaintiffs’ discovery requests vis-à-vis their Section 2019.210
15    statement and object when such requests are overbroad, see J.S. 26, is likewise absurd.
16    Rule 26 does not require Apple to turn over all of its files to Plaintiffs regardless of
17    relevance so that Plaintiffs can be the sole arbiters of what information relates to their
18    alleged trade secrets.3 As Diodes (which was cited by Computer Economics) makes clear,
19    Section 2019.210 provides to “both the court and the defendant . . . reasonable guidance in
20    ascertaining the scope of appropriate discovery.” 260 Cal. App. 2d at 253 (emphasis
21    added); see also Albert’s Organics, Inc. v. Holzman, 2020 WL 4368205, at *3 (N.D. Cal.
22    July 30, 2020) (“[S]ection 2019.210 . . . assists the court and parties in defining the
23

24    3
        Plaintiffs accuse Apple of having “an unduly narrow view of relevance” because it
25    purportedly “withheld discovery on its                        just because it believes it does
26    not misappropriate Plaintiffs’ trade secrets.” J.S. 26. But, as explained in Section II.B.3.a,
      infra at J.S. 40, that is a gross mischaracterization of Apple’s relevance objections, which
27    are based not on the merits of the case, but on the fact that Plaintiffs’ requests go well
28    beyond the boundaries established by their trade secrets description.


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1     appropriate scope of discovery.” (quoting Soc. Apps, LLC v. Zynga, Inc., 2012 WL
 2    2203063, at *2 (N.D. Cal. June 14, 2012)) (emphasis added)). A key purpose of Section
 3    2019.210 is to provide a lens through which both the Court and the parties can evaluate the
 4    boundaries of discovery requests. When, as here, a plaintiff’s discovery requests so plainly
 5    lie far outside those boundaries (as detailed in the next section, infra), non-production is
 6    appropriate and warranted.4
 7          The remainder of Plaintiffs arguments also make no sense. Plaintiffs argue that
 8    “[o]nce the Court has determined that a request seeks relevant information,” Apple cannot
 9    withhold responsive documents based on its Section 2019.210 objection. J.S. 26. But this
10    argument is a strawman—the Court has not yet ruled that any of the RFPs at issue on this
11    motion call for relevant documents. Indeed, Apple is arguing that these RFPs are not
12    relevant because they seek information far beyond that which relates to the alleged trade
13    secrets Plaintiffs identified in their Section 2019.210 disclosure. If the Court disagrees
14    with Apple and concludes that these requests are relevant, then Apple will of course comply
15    with that order and produce responsive documents. But until such time, Apple is entitled
16    to object on the grounds that Plaintiffs’ requests plainly exceed the scope of their trade
17    secret description.
18          Equally unavailing is Plaintiffs’ attempt to analogize this dispute to patent law.
19    Plaintiffs assert that their “Section 2019.210 statement guides the Court’s decision as to
20    whether a discovery request seeks relevant documents much like a patent claim guides
21    discovery in a patent case.” J.S. 26. That may be true, but it does not support Plaintiffs’
22    attempts to seek discovery unrelated to their alleged trade secrets. In fact, Plaintiffs’
23

24    4
        Plaintiffs also cite Brescia v. Angelin, 172 Cal. App. 4th 133, 149 (2009), and Advanced
25    Modular Sputtering, Inc. v. Superior Court, 132 Cal. App. 4th 826, 837 (2005), for the
26    unremarkable proposition that any reasonable doubt about discovery should be resolved in
      favor of allowing discovery to proceed. J.S. 25. But, as explained below, there is no doubt
27    here that Plaintiffs’ requests are not related to their alleged trade secrets enumerated in their
28    Section 2019.210 disclosure.


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1     analogy, if taken to its logical conclusion, contradicts their argument: if, for example,
 2    Plaintiffs were to serve a discovery request in a patent infringement case that was unrelated
 3    to the patent claims asserted in that case, such a request would be beyond the scope of
 4    permissible discovery. Any defendant would object in such circumstances precisely as
 5    Apple has done here, where Plaintiffs have served requests that are not related to their
 6    alleged trade secrets.
 7          3.     RFPs 63–66, 150, 153, 154, and 172 Are Not Relevant or Proportional
 8          The remainder of the RFPs at issue in this section of Plaintiffs’ motion—RFPs 63-
 9    66, 150, 153, 154, and 172—are either completely irrelevant or wildly overbroad because
10    they are not tethered to the alleged trade secrets Apple has been accused of
11    misappropriating. Instead, these RFPs seek information about algorithms (and aspects
12    thereof) that do not implicate Plaintiffs’ alleged trade secrets in any way. With these RFPs,
13    Plaintiffs plainly seek to evade the requirements of Section 2019.210, and to go on an
14    overbroad and unbounded search through Apple’s files, presumably to concoct new
15    allegations of trade secret misappropriation to assert in this case. The requested discovery
16    is thus not relevant or proportional to the needs of this case, and flies in the face of the very
17    purposes of Section 2019.210.5
18          Responding to Plaintiffs’ overbroad requests would also be disproportionally
19    burdensome and expensive to Apple because the scope of those requests is many times
20    broader than that of Plaintiffs’ alleged trade secrets. The majority of these RFPs seek all
21    documents and things that “refer or relate” to: (i) all heart rate and oxygen saturation
22    calculation algorithms or aspects thereof, (ii) all information on power consumption, (iii)
23    expansive testing information relating to these algorithms and related components of the
24

25    5
        Plaintiffs served Apple with their portion of this Joint Stipulation before Apple had an
26    opportunity to finalize its position with respect to certain of the RFPs now at issue in this
      Joint Stipulation. Accordingly, on further reflection after Plaintiffs served their portion of
27    this Joint Stipulation, Apple agreed to produced documents responsive to RFP 151, and
28    therefore RFP 151 is not at issue on this motion.


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1     Apple Watch, and (iv) everything relating or referring to the performance of these
 2    algorithms and components. By contrast, Plaintiffs identify only two categories of alleged
 3    trade secrets (“                                      ” and “                               ”)
 4    that are                                                         . As one example, Plaintiffs’
 5    “                                     ” trade secrets concern
 6

 7         —as Plaintiffs themselves have argued in the past. See, e.g., Samplin Decl. Ex. B, at
 8    16–18 (Plaintiffs’ Reply in Support of Their Preliminary Injunction Motion (Dkt. No. 161-
 9    1) at 2–4). And Plaintiffs’ alleged                                   trade secrets are limited
10    to
11                Plaintiffs’ Ex. 28, at 571 (F.1–.3). Yet Plaintiffs’ RFPs broadly seek discovery
12    on all aspects of both                     , including aspects
13                       that have nothing to do with their alleged trade secrets. Requiring Apple
14    to locate and produce potentially thousands of documents and ESI on unrelated
15    functionality—particularly when Apple already provided for inspection all of the relevant
16    source code—would be disproportionally burdensome to Apple. The extent of this burden
17    is particularly striking given that Plaintiffs seek this overbroad information for six
18    generations of the Apple Watch, the development of which occurred over eight years and
19    involved thousands of people, whereas their entire misappropriation case with respect to
20    their alleged “                                     ” and “                             ” trade
21    secrets is built upon allegations concerning Mr. Lamego’s employment at Apple for only
22    six months seven years ago. “[C]ourts are required to limit discovery” where, as here, “the
23    burden or expense of the proposed discovery outweighs its likely benefit; such is ‘the
24    essence of proportionality,’ an all-too-often ignored discovery principle.” Glumetza, 2020
25    WL 3498067, at *7 (citing Fed. R. Civ. P. 26(b)(1) and Apple Inc. v. Samsung Elecs. Co.,
26    2013 WL 4426512, at *3 (N.D. Cal. Aug. 14, 2013)); see also P&P Imports LLC v. Johnson
27    Enterprises LLC, 2020 WL 4258817, at *1 (C.D. Cal. Apr. 16, 2020) (Early, J.) (explaining
28    that “discovery requests that seek irrelevant information are inherently unduly

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1     burdensome.” (citing Wheel Grp. Holdings, LLC v. Cub Elecparts, Inc., 2018 WL
 2    6264980, at *4 (C.D. Cal. Sept. 4, 2018))).6
 3          In response to RFPs 63–66, 150, 153, 154, and 172, Apple already produced
 4    technical documents and source code that relate to the alleged trade secrets identified in
 5    Plaintiffs’ Section 2019.210 disclosure. Plaintiffs, however, seek additional discovery that
 6    goes beyond the alleged trade secrets identified in their Section 2019.210 disclosure, and
 7    thus is not “necessary to evaluate and resolve their [trade secret] dispute.” DeSilva, 2020
 8    WL 5947827, at *2. Plaintiffs should not be permitted to run roughshod over Section
 9    2019.210 to obtain confidential Apple information that does not relate to the alleged trade
10    secrets they have accused Apple of misappropriating in this case.
11                 a.     RFPs 63–66 (Heart Rate Algorithms)
12          Plaintiffs argue that their requests for documents relating to “any heart rate
13    algorithms used in any of the Apple Watch Products” (RFPs 63, 65), all documents relating
14    to “selection between any heart rate algorithm” (RFP 64), and all documents and things
15    relating to “testing and/or analysis” of “any of the Apple Watch Products or any
16    components” thereof that relate to pulse rate detection or measurement7 (RFP 66) are
17    “relevant to multiple categories of trade secrets at issue in this case.” J.S. 8–11, 20
18    (emphasis added). A closer inspection, however, reveals the flaws in Plaintiffs’ argument.
19          Not Relevant/Proportional to                                              .   The first
20    category of alleged trade secrets to which Plaintiffs point as the purported justification for
21

22
      6
        Plaintiffs attempt to justify the burden of their overbroad discovery on Apple by arguing
23
      that Apple is “the most valuable public company on earth.” J.S. 21. But Apple did not
24    become so valuable by wasting its resources on irrelevant discovery. Moreover, accepting
      Plaintiffs’ argument would mean that any party would be subject to overbroad and
25
      disproportionate discovery solely due to its financial success. That is not a tenable reading
26    of the proportionality requirements of Rule 26.
27    7
       The terms “heart rate” and “pulse rate” are synonymous and are used interchangeably
28    herein.


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1     these RFPs is “                                         ,” but these RFPs are not limited to
 2                                                                              . Rather, they seek
 3    all heart rate algorithms across all versions of the Apple Watch, regardless of
 4                                                                      Indeed, these RFPs are so
 5    broad that they cover
 6

 7                      Apple’s selection between different heart rate algorithms likewise has
 8    nothing to do with                                         . These RFPs are not relevant or
 9    proportional with respect to Plaintiffs’ allegations of misappropriation of alleged
10                                       trade secrets.
11          Not Relevant/Proportional to                             Plaintiffs next argue that their
12    heart rate algorithm RFPs are relevant to their alleged                                  trade
13    secrets because those alleged trade secrets concern
14

15                                        ” J.S. 21–22; see also Plaintiffs’ Ex. 28, at 571 (F.1).
16    But Plaintiffs’ requests go well beyond information regarding the
17                                                                    . Instead, these requests seek
18    information about the heart rate algorithms themselves,
19                                                                          . Apple already agreed
20    to produce documents related to
21                              .   Accordingly, the additional documents Plaintiffs seek—
22    documents that show all of Apple’s heart rate algorithms—would not permit Plaintiffs to
23    evaluate their misappropriation claim because they would not include information about
24    the alleged                                                             . These RFPs are not
25    relevant or proportional with respect to Plaintiffs’ allegations of misappropriation of
26    alleged                                trade secrets.
27          With respect to RFP 64 in particular, Plaintiffs argue for relevance based on the fact
28    that their alleged trade secrets purportedly “

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1           Furthermore, Plaintiffs’ heart rate power consumption RFPs relate solely to their
 2    patent claims asserting infringement of the low power patents, see Plaintiffs’ Ex. 26, at
 3    335, 339–40 (¶¶ 201, 215), and should be stayed for that reason alone.
 4          The overbreadth of Plaintiffs’ requests is evident from the fact that they are seeking
 5    discovery into just about every health-related functionality from six generations of the
 6    Apple Watch. Plaintiffs’ misappropriation theory, however, rests on allegations that Mr.
 7    Lamego—who left Apple before the first Watch was even released—disclosed their alleged
 8    trade secrets over a six-month period occurring seven years ago. Moreover, Plaintiffs
 9    have alleged that those trade secrets were disclosed in Apple patents naming Lamego as an
10    inventor or in a small subset of specific aspects of the Apple Watch. See Plaintiffs’ Ex. 26,
11    at 346–360 (¶¶ 234–56). Plaintiffs should not be permitted to discover every document
12    relating to functionalities that they did not (and cannot) allege are the product of Mr.
13    Lamego’s limited work years ago—particularly given that thousands of people have
14    worked on the development of features of the Apple Watch since Mr. Lamego’s departure
15    that have absolutely no connection to Plaintiffs’ allegations in this case. Cf. Uniloc USA,
16    Inc. v. Apple Inc., 2018 WL 2002979, at *1 (N.D. Cal. Apr. 30, 2018) (denying discovery
17    into all of Apple’s iOS source code where Apple explained that its code “reflect[s] the work
18    of thousands of engineers and billions of dollars of investment” and “includes code for
19    thousands of features and functions that have no relevance” to that case). Plaintiffs’
20    Section 2019.210 disclosure plays a critically important role in this case: ensuring that
21    Plaintiffs’ discovery remains tethered to their actual allegations of trade secret
22    misappropriation.
23          Critically, Apple has already started to produce “[d]ocuments sufficient to show any
24    heart rate algorithms used in”
25

26                                                                                    . Apple has
27    also made available for inspection—and Plaintiffs’ counsel has already inspected, see
28    Samplin Decl. ¶¶ 15–16 & Exs. J–K, at 161, 166–167—the very source code that

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1                        in the Apple Watch and that Plaintiffs alleged in their Fourth Amended
 2    Complaint they need to prove their misappropriation allegations with respect to their
 3    alleged                                 trade secrets. See Plaintiffs’ Ex. 26, at 359 (¶ 255)
 4    (alleging that “
 5

 6                            ” (emphasis added)). Thus, Plaintiffs already have (or soon will
 7    have) everything they need “to test Apple’s assertion” that Apple’s
 8               does not misappropriate their alleged trade secrets. J.S. 22.
 9           Unable to plausibly connect their RFPs concerning Apple’s heart rate algorithms to
10    their alleged trade secrets, Plaintiffs resort to mischaracterizing Apple’s objection as an
11    argument on the merits that “does not provide a basis to refuse discovery.” Id. Plaintiffs
12    are wrong.     Apple is not “
13                                             .” Id. Rather, Apple’s objection is that Plaintiffs’
14    RFPs seek information that is irrelevant to the resolution of the merits of Plaintiffs’ claim
15    because it goes well beyond
16

17           Plaintiffs further mischaracterize Apple’s objection by arguing that Apple is refusing
18    to “
19                        .” Id. That is wrong. Apple is not refusing to produce responsive
20    documents on
21               ; in fact, Apple has already produced such documents. See, e.g., Samplin Decl.
22    ¶ 10. Plaintiffs’ RFPs are impermissibly overbroad because
23                                                              and therefore are not alleged trade
24    secrets in this case. This is precisely the type of overbroad discovery that Section 2019.210
25    and the Federal Rules prohibit, because “it is easy to . . . take discovery into the defendants’
26    files, and then cleverly specify what ever [sic] happens to be there as having been trade
27    secrets stolen from plaintiff.” M/A-COM Tech. Sols., Inc. v. Litrinium, Inc., 2019 WL
28    8108729, at *2 (C.D. Cal. Sept. 3, 2019) (quoting Jobscience, Inc. v. CVPartners, Inc.,

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1     2014 WL 852477, at *5 (N.D. Cal. Feb. 28, 2014)).
 2          Plaintiffs also rely on SkinMedica, Inc. v. Histogen Inc. to argue that Apple may be
 3    liable for “unlawfully acquir[ing] and then buil[ding] upon or modif[ying]” their alleged
 4    trade secrets. J.S. 22–23 (quoting 869 F. Supp. 2d 1176, 1197 (S.D. Cal. Apr. 23, 2012)).
 5    But SkinMedica merely rejected an argument that a defendant must use every element of a
 6    trade secret before being liable for misappropriation. 869 F. Supp. 2d at 1197. The
 7    SkinMedica court explained that even if the defendant did not use several elements of the
 8    claimed trade secret, that “d[id] not foreclose the possibility that [defendant’s] process was
 9    not substantially derived from the claimed trade secrets.” Id. But here, Plaintiffs’ requests
10    go far beyond their alleged trade secrets and seek information about aspects of the Apple
11    Watch that have nothing to do with their allegations of misappropriation. SkinMedica
12    certainly does not stand for the proposition that courts should open the door to discovery
13    that has nothing to do with the alleged trade secrets in a trade secret misappropriation case.
14          Plaintiffs’ reliance on PMC, Inc. v. Kadisha is also misplaced. J.S. 23 (citing 78
15    Cal. App. 4th 1368, 1383 (2000)). The California Court of Appeal explained in that case
16    the unremarkable point that using “confidential information in . . . research or
17    development” may qualify as use of a trade secret under the definition of misappropriation.
18    PMC, 78 Cal. App. 4th at 1383. But such “use” must still relate to the alleged trade secrets,
19    and nothing in PMC suggests that Plaintiffs are permitted to seek discovery into Apple’s
20    “research and development” efforts that are unrelated to their trade secret description.
21                 b.     RFPs 150, 153–154, 172 (Pulse Oximetry Algorithms)
22          Plaintiffs’ pulse oximetry algorithm-related RFPs fare no better than their heart rate
23    algorithm-relates ones, because they are wildly overbroad and untethered to the alleged
24    trade secrets Apple is accused of misappropriating.
25          RFP 150, which requests all documents and things relating “to selection between
26    any pulse oximetry algorithm used in any of the Apple Watch Products,” suffers from the
27    same flaw as RFP 64 discussed above: it is not tied to the alleged
28


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1           RFP 154, which seeks all documents and things relating to any testing of any Apple
 2    Watch product that relates in any way to pulse oximetry, J.S. 16, is significantly broader in
 3    scope than Plaintiffs’ alleged                                    trade secrets and covers
 4    functionality far beyond that to which those alleged trade secrets relate. Accordingly,
 5    Plaintiffs’ motion with respect to this RFP should be denied.
 6          RFP 172, which requests information concerning the performance and reliability of
 7    Apple’s pulse oximetry feature, J.S. 17, is similarly removed from Plaintiffs’ alleged
 8

 9

10

11

12                           Thus, this RFP is also improper.
13                 c.    Discovery of Earlier Versions of the Apple Watch Must Relate to
14                       Plaintiffs’ Alleged Trade Secrets
15          Plaintiffs’ complaint about earlier versions of the Apple Watch similarly ignores
16    Section 2019.210. Plaintiffs argue that early versions of the Apple Watch are discoverable,
17    but Apple has never argued otherwise. Indeed, as Plaintiffs concede, Apple provided for
18    their inspection the source code “sufficient to show the ‘relevant operation and functions’”
19    of all versions of the Apple Watch. J.S. 23 (emphasis added). Apple’s argument is that it
20    should not be required to produce information pertaining to earlier versions of the Apple
21    Watch in response to RFPs that are not tethered to Plaintiffs’ alleged trade secrets.
22          Plaintiffs’ real goal, as they candidly admit, is to go on a fishing expedition through
23    Apple’s files to manufacture claims of misappropriation not related to the alleged trade
24    secrets identified in their Section 2019.210 disclosure. Id. (“Plaintiffs are entitled to
25    engage in discovery to uncover trade-secret misappropriation of which they are not
26    aware.”). Plaintiffs argue that Perlan permits such fishing expeditions, but as discussed
27    above, that is false. See Section II.B.2, supra. This Court and the Ninth Circuit have made
28    clear that “[d]iscovery is not to be used for a fishing expedition to investigate mere

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1     speculation.” Mullally v. Havasu Landing Casino, 2012 WL 13013031, at *1 (C.D. Cal.
 2    June 21, 2012) (citing Calderon v. U.S. Dist. Court for the N. Dist. of Cal., 98 F.3d 1102,
 3    1106 (9th Cir. 1996)); see also Rivera v. Nibco, Inc., 364 F.3d 1057, 1072 (9th Cir. 2004)
 4    (“District Courts need not condone the use of discovery to engage in ‘fishing
 5    expedition[s].’” (citation omitted)). Plaintiffs’ reliance on two patent cases in support of
 6    their argument is misplaced. Courts in patent cases permit discovery into products
 7    comparable to those accused of infringement because such products are relevant to the
 8    calculation of damages and licensing issues. See Kaneka Corp. v. Zhejiang Med. Co., 2016
 9    WL 11266869, at *15 (C.D. Cal. Oct. 18, 2016) (finding that information concerning a
10    related product not accused of infringement “is sufficiently relevant to the damages issues
11    that it is discoverable”); Fresenius Med. Care v. Holding Inc. v. Baxter Int’l Inc., 224
12    F.R.D. 644, 652–53 (N.D. Cal. 2004) (permitting discovery into “licenses of comparable
13    products” for damages purposes). Plaintiffs do not argue that all information about earlier
14    versions of the Apple Watch is necessary for their calculation of damages in this trade
15    secret case, and nothing about the patent cases Plaintiffs cite suggests that Plaintiffs should
16    be permitted to sift through Apple’s files relating to earlier versions of the Watch for
17    information that has nothing to do with the alleged trade secrets they have actually accused
18    Apple of misappropriating—particularly when Apple already made available to Plaintiffs
19    the source code for these earlier versions of the Apple Watch that shows all functionality
20    that is related to Plaintiffs’ alleged trade secrets.
21           Plaintiffs next argue that they should be permitted broad discovery into all versions
22    of the Apple Watch because Lamego worked at Apple during development of the original
23    series of the Apple Watch and any documents purportedly “showing Lamego advocated
24    that Apple should implement Plaintiffs’ trade secrets would constitute use of Plaintiffs’
25    trade secrets even if Apple did not ultimately incorporate the trade secrets in that version
26    of the” Apple Watch. J.S. 24. The fatal flaw in this argument is that it is divorced from
27    Plaintiffs’ discovery requests, each of which require actual use of the information in or by
28    the Apple Watch products. See, e.g., J.S. 8–10 (RFP 63–65 seeking information on “any

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1     heart rate algorithm(s) used in any of the Apple Watch Products” (emphasis added)); J.S.
 2    12 (RFP 148 seeking information on “the calculation of oxygen saturation in any Apple
 3    Watch Product” (emphasis added)); J.S. 13–14 (RFP 149–151 seeking information on “any
 4    pulse oximetry algorithm used in any of the Apple Watch” (emphasis added)); J.S. 15 (RFP
 5    153 seeking information on “the operation of any LEDs used to determine oxygen
 6    saturation for any Apple Watch Product” (emphasis added)); J.S. 11, 16 (RFP 66 and 154
 7    seeking information on “testing and/or analysis . . . of any Apple Watch Product or any
 8    component” thereof (emphasis added)); J.S. 17 (RFP 172 (seeking information on the
 9    “performance of the pulse oximetry feature in the Apple Watch Series 6” (emphasis
10    added)).8 Critically, Plaintiffs have defined Apple Watch Products to mean “smartwatches
11    produced by Apple, including the Original Apple Watch” and “Apple Watch Series [1–6],”
12    Plaintiffs Ex. 3, at 36—i.e., real Apple Watch devices. Thus, information relating to what
13    Lamego purportedly advocated while at Apple, if not actually incorporated into any version
14    of the Apple Watch, is not responsive to the RFPs at issue on this motion.
15          Plaintiffs’ last argument with respect to the version issue is that they “are entitled to
16    discovery as to changes and comparisons between earlier [W]atches and the Series 4 and
17    later [W]atches.” J.S. 24. But Apple has never argued otherwise, and the source code for
18    the earlier versions of the Apple Watch that Apple made available to Plaintiffs allows them
19    to do just that—to compare earlier and later versions of the Apple Watch. Again, Apple’s
20    objection is and always has been only to the portions of Plaintiffs’ discovery requests that
21    go beyond the scope of their alleged trade secrets. Plaintiffs are not entitled to discovery
22    into changes and comparisons between earlier and later versions of the Apple Watch that
23    are not related to their alleged trade secrets.
24

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      8
26      As explained above, RFP 186 is not in dispute because Apple has already produced
      technical documents responsive to it. And although there is also no dispute with respect to
27    RFPs 148–149 and 151, Apple has included them here to show that they also require actual
28    use of the requested information in or by the Apple Watch.


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1           4.     Apple Has Not Asserted Improper Boilerplate Objections
 2          Throughout their portion of this Joint Stipulation, Plaintiffs repeatedly accuse Apple
 3    of including improper “boilerplate objections.” See, e.g., J.S. 21 (citing Nguyen v. Lotus
 4    by Johnny Dung Inc., 2019 WL 4579259, at *3 (C.D. Cal. June 7, 2019)). Plaintiffs’
 5    accusations are baseless. A boilerplate objection is one that does not “set[] forth any
 6    explanation or argument why the requested documents are not relevant.” A. Farber &
 7    Partners, Inc. v. Garber, 234 F.R.D. 186, 188 (C.D. Cal. 2006) (quoted in Nguyen, 2019
 8    WL 4579259, at *3). Apple clearly explained the bases for all of its objections, including
 9    its relevance objections. Apple’s objections are not improperly general or boilerplate.
10                                           *      *       *
11          In sum, there is no dispute with respect to Plaintiffs’ RFPs 148–149, 151, and 186;
12    Apple is producing (or already has produced) responsive documents in its possession,
13    custody, and control, located following a reasonable search. And with respect to RFPs 63–
14    66, 150, 153, 154, and 172, which are overbroad and seek information that is well beyond
15    the scope of their alleged trade secrets in this case, Plaintiffs’ motion to compel should be
16    denied. Apple will continue to produce responsive documents within its possession,
17    custody, and control, located following a reasonable search, that relate to the alleged trade
18    secrets in this trade secret misappropriation case.
19                            [remainder of page left intentionally blank]
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1                           III. PLAINTIFFS’ RFPS 71-77 AND 83-86
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 71-77 and 83-
 3    86, and Apple’s response to each request. The parties’ respective points and authorities
 4    follow below.
 5          REQUEST FOR PRODUCTION NO. 71:
 6                Documents sufficient to identify all persons involved in the research,
            design, and development of any physiological monitoring capability of the
 7
            Apple Watch Products.
 8
            RESPONSE TO REQUEST FOR PRODUCTION NO. 71:
 9                Apple incorporates by reference its General Objections and Objections
10          to Definitions and Instructions.
11                  Apple objects to this Request to the extent it seeks documents and things
            protected from discovery by the attorney-client privilege, the work-product
12          doctrine, the common-interest privilege, and/or any other applicable privilege,
13          immunity, or protection. Apple objects to this Request as overbroad and
            unduly burdensome to the extent it seeks information neither relevant to the
14          issues in the present action nor reasonably calculatedto lead to the discovery
15          of admissible evidence. Apple objects to this Request to the extent that it seeks
            information already in Plaintiffs’ possession or information that is obtainable
16          from another source, such as publicly available materials, that is more
17          convenient, less burdensome, or less expensive. Apple objects to this Request
            to the extent it seeks documents related to products that are not relevant to this
18          litigation or documents related to products Plaintiffs have not identified in
19          their Complaint or otherwise accused of infringement. Apple objects to this
            Request as overbroad and unduly burdensome because it is not limited to the
20          publicly released Apple Watch Series 3-5 devices identified and alleged in
21          Plaintiffs’ infringement allegations to infringe the Asserted Patents. Apple
            objects to this Request as overbroad and unduly burdensome to the extent it
22          requests information predating the release of the Accused Products and, in
23          fact, is not limited to any relevant time period. Apple objects to this Request as
            vague, ambiguous, overly broad, and unduly burdensome because it is not
24          limited to the asserted claims of the patents asserted by Plaintiffs in their
25          Complaint. Apple expressly preserves its objection to producing any
            documents or things that relate to Plaintiffs’ trade secret misappropriation
26          claim, even if they also relate to other claims, until Plaintiffs comply with
27          Section 2019.210. Nonetheless, based on this Court’s April 17, June 15, and
            July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will withhold only documentsor
28          things that relate solely to Plaintiffs’ trade secret misappropriation claim until

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1           Plaintiffs comply with Section 2019.210—without waiving, or intending to
 2
            waive, the preceding objection.
                   Subject to and without waiver of the foregoing General and Specific
 3
            Objections and under the provisions of the Protective Order and ESI
 4          Stipulation entered in this case, Apple agrees to produce documents related to
            the technical features accused of infringement and responsive to the
 5
            unobjectionable scope of this Request, to the extentsuch information exists
 6          and is located after a reasonably diligent search.
 7          REQUEST FOR PRODUCTION NO. 72:
 8               All documents concerning any changes made to any of the Apple Watch
            Products’ firmware, software, or comments thereto that relate to physiological
 9          monitoring.
10          RESPONSE TO REQUEST FOR PRODUCTION NO. 72:
11                Apple incorporates by reference its General Objections and Objections
12
            to Definitions and Instructions.
                    Apple objects to this Request to the extent it seeks documents and things
13
            protected from discovery by the attorney-client privilege, the work-product
14          doctrine, the common-interest privilege, and/or any other applicable privilege,
            immunity, or protection. Apple objects to this Request as overbroad and
15
            unduly burdensome to the extent it seeks information neither relevant to the
16          issues in the present action nor reasonably calculatedto lead to the discovery
            of admissible evidence. Apple objects to this Request to the extent that it seeks
17
            information already in Plaintiffs’ possession or information that is obtainable
18          from another source, such as publicly available materials, that is more
            convenient, less burdensome, or less expensive. Apple objects to this Request
19
            to the extent it seeks documents related to products that are not relevant to
20          this litigation or documents related to products Plaintiffs have not identified
            in their Complaint or otherwise accused of infringement. Apple objects to this
21
            Request as overbroad and unduly burdensome because it is not limited to the
22          publicly released Apple Watch Series 3-5 devices identified and alleged in
            Plaintiffs’ infringement allegations to infringe the Asserted Patents. Apple
23
            objects to this Request on the grounds that it is overly broad and unduly
24          burdensome to the extent it requests “[a]ll documents” relating to the subject
25
            matter of the request. Apple objects to this Request as overbroad and unduly
            burdensome to the extent it requests information predating the release of the
26          Accused Products and, in fact, is not limited to any relevant time period. Apple
27
            objects to this Request as vague, ambiguous, overly broad, and unduly
            burdensome because it is not limited to the asserted claims of the patents
28          asserted by Plaintiffs in their Complaint. Apple expressly preserves its

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1           objection to producing any documents or things that relateto Plaintiffs’ trade
 2
            secret misappropriation claim, even if they also relate to other claims, until
            Plaintiffs comply with Section 2019.210. Nonetheless, based on this Court’s
 3          April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will
 4          withhold only documents or things that relate solely to Plaintiffs’ trade secret
            misappropriation claim until Plaintiffs comply with Section 2019.210—
 5          without waiving, or intending to waive, the preceding objection.
 6                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
 7
            Stipulation entered in this case, Apple agrees to produce documents related to
 8          the technical features accused of infringement and responsive to the
            unobjectionable scope of this Request, to the extentsuch information exists
 9
            and is located after a reasonably diligent search.
10
            REQUEST FOR PRODUCTION NO. 73:
11                All documents concerning any changes made to firmware, software, or
12          comments thereto, between the Apple Watch Series 3 and Apple Watch Series
            4 and later.
13
            RESPONSE TO REQUEST FOR PRODUCTION NO. 73:
14
                  Apple incorporates by reference its General Objections and Objections
15          to Definitions and Instructions.
16                 Apple objects to this Request to the extent it seeks documents and things
            protected from discovery by the attorney-client privilege, the work-product
17
            doctrine, the common-interest privilege, and/or any other applicable privilege,
18          immunity, or protection. Apple objects to this Request as overbroad and
            unduly burdensome to the extent it seeks information neither relevant to the
19
            issues in the present action nor reasonably calculatedto lead to the discovery
20          of admissible evidence. Apple objects to this Request to the extent that it seeks
            information already in Plaintiffs’ possession or information that is obtainable
21
            from another source, such as publicly available materials, that is more
22          convenient, less burdensome, or less expensive. Apple objects to this Request
            on the grounds that it is overly broad and unduly burdensome to the extent it
23
            requests “[a]ll documents” relating to the subject matter of the request. Apple
24          objects to this Request as overbroad and unduly burdensome because it is not
25
            limited to the publicly released Apple Watch Series 3-5 devices identified and
            alleged in Plaintiffs’ infringementallegations to infringe the Asserted Patents.
26          Apple objects to this Request as overbroad and unduly burdensome to the
27
            extent it requests information predating the release of theAccused Products
            and, in fact, is not limited to any relevant time period. Apple objectsto this
28          Request as vague, ambiguous, overly broad, and unduly burdensome because

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1           it is not limited to the asserted claims of the patents asserted by Plaintiffs
 2
            in theirComplaint. Apple expressly preserves its objection to producing any
            documents or things that relate to Plaintiffs’ trade secret misappropriation
 3          claim, even if they also relate to other claims, until Plaintiffs comply with
 4          Section 2019.210. Nonetheless, basedon this Court’s April 17, June 15, and
            July 14 Orders (Dkt. Nos. 37, 54, 79), Apple willwithhold only documents or
 5          things that relate solely to Plaintiffs’ trade secret misappropriation claim until
 6          Plaintiffs comply with Section 2019.210—without waiving, or intending to
            waive, the preceding objection.
 7
                   Subject to and without waiver of the foregoing General and Specific
 8          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, Apple agrees to produce documents related to
 9
            the technical features accused of infringement and responsive to the
10          unobjectionable scope of this Request, to the extentsuch information exists
11
            and is located after a reasonably diligent search.
            REQUEST FOR PRODUCTION NO. 74:
12
                  All documents and things that refer or relate to the performance of non-
13          invasive physiological measurements for the Apple Watch Series 3.
14          RESPONSE TO REQUEST FOR PRODUCTION NO. 74:
15                Apple incorporates by reference its General Objections and Objections
16
            to Definitions and Instructions.
                    Apple objects to this Request to the extent it seeks documents and things
17
            protected from discovery by the attorney-client privilege, the work-product
18          doctrine, the common-interest privilege, and/or any other applicable privilege,
            immunity, or protection. Apple objects to this Request as overbroad and
19
            unduly burdensome to the extent it seeks information neither relevant to the
20          issues in the present action nor reasonably calculatedto lead to the discovery
            of admissible evidence. Apple objects to this Request to the extent that it seeks
21
            information already in Plaintiffs’ possession or information that is obtainable
22          from another source, such as publicly available materials, that is more
            convenient, less burdensome, or less expensive. Apple objects to this Request
23
            to the extent it seeks documents related to products that are not relevant to this
24          litigation or documents related to products Plaintiffs have not identified in
25
            their Complaint or otherwise accused of infringement. Apple objects to this
            Request on the grounds that itis overly broad and unduly burdensome to the
26          extent it requests “[a]ll documents and things” relating to the subject matter
27
            of the request. Apple objects to this Request as overbroad and unduly
            burdensome to the extent it requests information predating the release of the
28          Accused Products and, in fact, is not limited to any relevant time period. Apple

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1           objects to this Request as vague, ambiguous, overly broad, and unduly
 2
            burdensome because it is not limited to the asserted claims of the patents
            asserted by Plaintiffs in their Complaint. Apple expressly preserves its
 3          objection to producing anydocuments or things that relate to Plaintiffs’ trade
 4          secret misappropriation claim, even ifthey also relate to other claims, until
            Plaintiffs comply with Section 2019.210. Nonetheless, based on this Court’s
 5          April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will
 6          withhold only documents or things that relate solely to Plaintiffs’ trade secret
            misappropriation claim until Plaintiffs comply with Section 2019.210—
 7          without waiving, or intending to waive, the preceding objection.
 8                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
 9
            Stipulation entered in this case, Apple agrees to produce documents related to
10          the technical features accused of infringement and responsive to the
11
            unobjectionable scope of this Request, to the extentsuch information exists
            and is located after a reasonably diligent search.
12
            REQUEST FOR PRODUCTION NO. 75:
13                All documents and things that refer or relate to the performance of non-
14          invasive physiological measurements for the Apple Watch Series 4 and later.
15          RESPONSE TO REQUEST FOR PRODUCTION NO. 75:

16
                  Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
17
                   Apple objects to this Request to the extent it seeks documents and things
18          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
19
            immunity, or protection. Apple objects to this Request as overbroad and
20          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
21
            of admissible evidence. Apple objects to this Request to the extent that it seeks
22          information already in Plaintiffs’ possession or information that is obtainable
            from another source, such as publicly available materials, that is more
23
            convenient, less burdensome, or less expensive. Apple objects to this
24          Request on the grounds that it is overly broad and unduly burdensome to the
25
            extent it requests “[a]ll documents and things” relating to the subject matter of
            the request. Apple objects to this Request as overbroad and unduly
26          burdensome because it is not limited to the publicly released Apple Watch
27
            Series 3-5 devices identified and alleged in Plaintiffs’ infringement
            allegations to infringe the Asserted Patents. Apple objects to this Requestas
28          vague, ambiguous, overly broad, and unduly burdensome because it is not

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1           limited to the asserted claims of the patents asserted by Plaintiffs in their
 2
            Complaint. Apple expressly preserves its objection to producing any
            documents or things that relate to Plaintiffs’ trade secret misappropriation
 3          claim, even if they also relate to other claims, until Plaintiffs comply with
 4          Section 2019.210. Nonetheless, based on this Court’s April17, June 15, and
            July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will withhold only documents or
 5          things that relate solely to Plaintiffs’ trade secret misappropriation claim until
 6          Plaintiffs comply with Section 2019.210—without waiving, or intending to
            waive, the preceding objection.
 7
                   Subject to and without waiver of the foregoing General and Specific
 8          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, Apple agrees to produce documents related to
 9
            the technical features accused of infringement and responsive to the
10          unobjectionable scope of this Request, to the extentsuch information exists
11
            and is located after a reasonably diligent search.
            REQUEST FOR PRODUCTION NO. 76:
12
                  All documents and things that refer or relate to changes in the
13          performance of non-invasive physiological measurements between the Apple
14          Watch Series 3 and the Apple Watch Series 4.
15          RESPONSE TO REQUEST FOR PRODUCTION NO. 76:

16
                  Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
17
                    Apple objects to this Request to the extent it seeks documents and things
18          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
19
            immunity, or protection. Apple objects to this Request as overbroad and
20          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
21
            of admissible evidence. Apple objects to this Request to the extent that it seeks
22          information already in Plaintiffs’ possession or information that is obtainable
            from another source, such as publicly available materials, that is more
23
            convenient, less burdensome, or less expensive. Apple objects to this Request
24          to the extent it seeks documents related to products that are not relevant to this
25
            litigation or documents related to products Plaintiffs have not identified in
            their Complaint or otherwise accused of infringement. Apple objects to this
26          Request on the grounds that itis overly broad and unduly burdensome to the
27
            extent it requests “[a]ll documents and things” relating to the subject matter
            of the request. Apple objects to this Request as overbroad and unduly
28          burdensome to the extent it requests information predating the release of the

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1           Accused Products and, in fact, is not limited to any relevant time period. Apple
 2
            objects to this Request as vague, ambiguous, overly broad, and unduly
            burdensome because it is not limited to the asserted claims of the patents
 3          asserted by Plaintiffs in their Complaint. Apple expressly preserves its
 4          objection to producing anydocuments or things that relate to Plaintiffs’ trade
            secret misappropriation claim, even ifthey also relate to other claims, until
 5          Plaintiffs comply with Section 2019.210. Nonetheless, based on this Court’s
 6          April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will
            withhold only documents or things that relate solely to Plaintiffs’ trade secret
 7          misappropriation claim until Plaintiffs comply with Section 2019.210—
 8          without waiving, or intending to waive, the preceding objection.
                   Subject to and without waiver of the foregoing General and Specific
 9
            Objections and under the provisions of the Protective Order and ESI
10          Stipulation entered in this case, Apple agrees to produce documents related to
11
            the technical features accused of infringement and responsive to the
            unobjectionable scope of this Request, to the extentsuch information exists
12          and is located after a reasonably diligent search.
13          REQUEST FOR PRODUCTION NO. 77:
14                All documents and things that refer or relate to changes in the
            performance of non-invasive physiological measurements between the Apple
15          Watch Series 4 and the Apple Watch Series 5.
16          RESPONSE TO REQUEST FOR PRODUCTION NO. 77:
17                Apple incorporates by reference its General Objections and Objections
18          to Definitions and Instructions.
                   Apple objects to this Request to the extent it seeks documents and things
19
            protected from discovery by the attorney-client privilege, the work-product
20          doctrine, the common-interest privilege, and/or any other applicable privilege,
            immunity, or protection. Apple objects to this Request as overbroad and
21
            unduly burdensome to the extent it seeks information neither relevant to the
22          issues in the present action nor reasonably calculatedto lead to the discovery
            of admissible evidence. Apple objects to this Request to the extent that it seeks
23
            information already in Plaintiffs’ possession or information that is obtainable
24          from another source, such as publicly available materials, that is more
25
            convenient, less burdensome, or less expensive. Apple objects to this Request
            on the grounds that it is overly broad and unduly burdensome to the extent it
26          requests “[a]ll documents and things” relating to the subject matter of the
27
            request. Apple objects to thisRequest as vague, ambiguous, overly broad, and
            unduly burdensome because it is not limited to the asserted claims of the
28          patents asserted by Plaintiffs in their Complaint. Apple expressly preserves its

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1           objection to producing any documents or things that relateto Plaintiffs’ trade
 2
            secret misappropriation claim, even if they also relate to other claims, until
            Plaintiffs comply with Section 2019.210. Nonetheless, based on this Court’s
 3          April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will
 4          withhold only documents or things that relate solely to Plaintiffs’ trade secret
            misappropriation claim until Plaintiffs comply with Section 2019.210—
 5          without waiving, or intending to waive, the preceding objection.
 6                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
 7
            Stipulation entered in this case, Apple agrees to produce documents related to
 8          the technical features accused of infringement and responsive to the
            unobjectionable scope of this Request, to the extentsuch information exists
 9
            and is located after a reasonably diligent search.
10
            REQUEST FOR PRODUCTION NO. 83:
11                 All documents and things that refer or relate to the use, effectiveness,
12          capabilities, functionality, or characteristics of the physiological monitoring
            features of any of the Apple Watch Products.
13
            RESPONSE TO REQUEST FOR PRODUCTION NO. 83:
14
                  Apple incorporates by reference its General Objections and Objections
15          to Definitions and Instructions.
16                  Apple objects to this Request to the extent it seeks documents and
            things protected from discovery by the attorney-client privilege, the work-
17
            product doctrine, the common- interest privilege, and/or any other applicable
18          privilege, immunity, or protection. Apple objects to this Request as overbroad
            and unduly burdensome to the extent it seeks information neither relevant to
19
            the issues in the present action nor reasonably calculated to lead to the
20          discovery of admissible evidence. Apple objects to this Request to the extent
            that it seeks information already in Plaintiffs’ possession or information that
21
            is obtainable from another source, such as publicly available materials, that is
22          more convenient, less burdensome, or less expensive. Apple objects to this
            Request to the extent it seeks documents related to products that are not
23
            relevant to this litigation or documents related to products Plaintiffs have not
24          identified in their Complaint or otherwise accused of infringement. Apple
25
            objects to this Request as overbroad and unduly burdensome because it is not
            limited to the publicly released Apple Watch Series 3-5 devices identified and
26          alleged in Plaintiffs’ infringement allegations to infringe the Asserted Patents.
27
            Apple objects to this Request on the grounds that it is overly broad and unduly
            burdensome to the extent it requests “[a]ll documents and things” relating to
28          the subject matter of the request. Apple expressly preserves its objection to

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1           producing any documents or things that relate to Plaintiffs’ trade secret
 2
            misappropriation claim, even if they also relate to other claims, until Plaintiffs
            comply with Section 2019.210. Nonetheless, based on this Court’s April 17,
 3          June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will withhold only
 4          documents or things that relate solely to Plaintiffs’ trade secret
            misappropriation claim until Plaintiffs comply with Section 2019.210—
 5          without waiving, or intending to waive, the preceding objection.
 6                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
 7
            Stipulation entered in this case, Apple agrees to produce documents related to
 8          the technical features accused of infringement and responsive to the
            unobjectionable scope of this Request, to the extentsuch information exists
 9
            and is located after a reasonably diligent search.
10
            REQUEST FOR PRODUCTION NO. 84:
11                Documents sufficient to show any algorithm used to monitor any
12          physiological parameter in any of the Apple Watch Products.
13          RESPONSE TO REQUEST FOR PRODUCTION NO. 84:

14
                  Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
15
                    Apple objects to this Request to the extent it seeks documents and things
16          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
17
            immunity, or protection. Apple objects to this Request as overbroad and
18          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
19
            of admissible evidence. Apple objects to this Request to the extent that it seeks
20          information already in Plaintiffs’ possession or information that is obtainable
            from another source, such as publicly available materials, that is more
21
            convenient, less burdensome, or less expensive. Apple objects to this Request
22          to the extent it seeks documents related to products that are not relevant to this
            litigation or documents related to products Plaintiffs have not identified in
23
            their Complaint or otherwise accused of infringement. Apple objects to this
24          Request as overbroad and unduly burdensome because it is not limited to the
25
            publicly released Apple Watch Series 3-5 devices identified and alleged in
            Plaintiffs’ infringement allegations to infringe the Asserted Patents. Apple
26          objects to this Request as overly broad and unduly burdensome because it is
27
            not reasonably limited to the scope of infringement allegations in this
            litigation. Apple expressly preserves its objection to producing any documents
28          or thingsthat relate to Plaintiffs’ trade secret misappropriation claim, even if

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1           they also relate to other claims, until Plaintiffs comply with Section 2019.210.
 2
            Nonetheless, based on this Court’s April 17, June 15, and July 14 Orders (Dkt.
            Nos. 37, 54, 79), Apple will withhold only documents or things that relate
 3          solely to Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply
 4          with Section 2019.210—without waiving, or intending to waive, the
            preceding objection.
 5
                   Subject to and without waiver of the foregoing General and Specific
 6          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, Apple agrees to produce documents related to
 7
            the technical features accused of infringement and responsive to the
 8          unobjectionable scope of this Request, to the extentsuch information exists
            and is located after a reasonably diligent search.
 9
            REQUEST FOR PRODUCTION NO. 85:
10
                  All documents and things referring or relating to, or otherwise
11          evidencing, factors Apple considered when selecting technology that it used
12          to monitor any physiological parameter, for use in Defendant’s products.
13          RESPONSE TO REQUEST FOR PRODUCTION NO. 85:

14
                  Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
15
                    Apple objects to this Request to the extent it seeks documents and things
16          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
17
            immunity, or protection. Apple objects to this Request as overbroad and
18          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
19
            of admissible evidence. Apple objects to this Request to the extent that it seeks
20          information already in Plaintiffs’ possession or information that is obtainable
            from another source, such as publicly available materials, that is more
21
            convenient, less burdensome, or less expensive. Apple objects to this Request
22          because it seeks documents related to “Defendant’s products,” which is
            undefined and appears to seek documents related to products that are not
23
            relevant to this litigation. Apple objects to this Request on the grounds that it
24          is overly broad and unduly burdensome to the extent it requests “[a]ll
25
            documents and things” relating to the subject matter of the request. Apple
            objects to this Request as overly broad and unduly burdensome becauseit is
26          not reasonably limited to the scope of infringement allegations in this
27
            litigation. Apple expressly preserves its objection to producing any documents
            or things that relateto Plaintiffs’ trade secret misappropriation claim, even if
28          they also relate to other claims,until Plaintiffs comply with Section 2019.210.

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1           Nonetheless, based on this Court’s April17, June 15, and July 14 Orders (Dkt.
 2
            Nos. 37, 54, 79), Apple will withhold only documents or things that relate
            solely to Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply
 3          with Section 2019.210—without waiving, or intending to waive,the preceding
 4          objection.
                   Subject to and without waiver of the foregoing General and Specific
 5
            Objections and under the provisions of the Protective Order and ESI
 6          Stipulation entered in this case, Apple agrees to produce documents related to
            the technical features accused of infringement and responsive to the
 7
            unobjectionable scope of this Request, to the extentsuch information exists
 8          and is located after a reasonably diligent search.
 9          REQUEST FOR PRODUCTION NO. 86:
10                All documents and things referring or relating to, or otherwise
            evidencing, the parameters by which Defendant or its customers evaluates the
11          performance of physiological parameter monitoring technology.
12          RESPONSE TO REQUEST FOR PRODUCTION NO. 86:
13                Apple incorporates by reference its General Objections and Objections
14
            to Definitions and Instructions.
                    Apple objects to this Request to the extent it seeks documents and things
15
            protected from discovery by the attorney-client privilege, the work-product
16          doctrine, the common-interest privilege, and/or any other applicable privilege,
            immunity, or protection. Apple objects to this Request as overbroad and
17
            unduly burdensome because it seeks information neither relevant to the issues
18          in the present action nor reasonably calculated to lead to the discovery of
            admissible evidence. Apple objects to this Request to the extent that it seeks
19
            information already in Plaintiffs’ possession or information that is obtainable
20          from another source, such as publicly available materials, that is more
            convenient, less burdensome, or less expensive. Apple objects to this Request
21
            to the extent it seeks documents related to products that are not relevant to this
22          litigation or documents related to products Plaintiffs have not identified in
            their Complaint or otherwise accused of infringement. Apple objects to this
23
            Request on the grounds that itis overly broad and unduly burdensome to the
24          extent it requests “[a]ll documents and things” relating to the subject matter
25
            of the request. Apple objects to this Request as overly broad and unduly
            burdensome because it is not reasonably limited to the scope of infringement
26          allegations in this litigation. Apple expressly preserves its objection to
27
            producing any documents or things that relate to Plaintiffs’ trade secret
            misappropriationclaim, even if they also relate to other claims, until Plaintiffs
28          comply with Section 2019.210. Nonetheless, based on this Court’s April 17,

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1           June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will withhold only
 2
            documents or things that relate solely to Plaintiffs’ trade secret
            misappropriation claim until Plaintiffs comply with Section 2019.210—
 3          without waiving, or intending to waive, the preceding objection.
 4                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
 5
            Stipulation entered in this case, Apple is willing to meet and confer regarding
 6          the scope of this Request.
 7    A.    Plaintiffs’ Position
 8          RFPs 71-77 and 83-86 seek technical information that is directly at issue in this case.
 9    RFP 71 seeks documents sufficient to identify individuals involved in research and
10    development for the Apple Watch, which is obviously relevant in this technical trade secret
11    case. RFPs 72-77 seek documents about changes made to the physiological monitoring
12    features of the Apple Watch and performance of physiological monitoring features. RFP
13    84 seeks documents sufficient to show Apple’s physiological monitoring algorithms. RFPs
14    83 and 85-86 seek documents about the effectiveness of Apple’s physiological monitoring,
15    and factors Apple or its customers consider when selecting physiological monitoring
16    parameters. As discussed in more detail above, Plaintiffs’ trade secrets at issue in this case
17    involve various physiological monitoring techniques. See Section II.A.1, supra. The
18    documents sought by these RFPs are directly relevant to Plaintiffs’ allegations that Apple
19    used Plaintiffs’ trade secrets to improve the physiological monitoring features in the Series
20    4 and later Apple Watches. Ex. 26, ¶¶ 25, 238. The documents are also relevant to damages
21    because they show the importance of monitoring technology and the emphasis that Apple
22    and its customers put on accuracy. Id. ¶¶ 256, 260. The RFPs are proportional to the needs
23    of the case for the same reasons discussed above. Among other things, these RFPs seek
24    directly relevant information, the amount in controversy is high, and Apple cannot claim it
25    lacks resources to search because it is the most valuable public company on earth.
26          Apple’s written responses included pages of boilerplate objections. Such “general
27    or boilerplate objections” are improper. Nguyen, 2019 WL 4579259, at *3. During the
28    meet and confer, Apple raised a handful of objections to limit its production. Ex. 24. Apple

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1     argued RFP 86 is overbroad because it seeks information about all versions of the watch
 2    rather than just versions specifically accused of misappropriating Plaintiffs’ trade secrets.
 3    Id. Apple also stated it will produce documents “only to the extent they relate to the alleged
 4    trade secrets in Plaintiffs’ Section 2019.210 disclosure” (Id. at 8-9), which Apple plans to
 5    unilaterally decide itself. Apple also attempted to limit RFPs 74 and 86 by agreeing to
 6    produce only “source code for the earlier versions of the Apple Watch (e.g., the Original
 7    Apple Watch through the Apple Watch Series 3) for the relevant operation and functions
 8    of the Apple Watch.” Id. at 9. Those objections and limitations lack merit for the same
 9    reasons discussed above. See Section II.A.2.a, Section II.A.2.b, & Section II.A.2.c, supra.
10          Apple also argues RFPs 71, 72, 74-77, and 83-85 are overbroad because they request
11    information about “physiological monitoring,” which Apple claims “may encompass
12    features and technologies that are not relevant to any issues in this case.” Ex. 24 at 8. The
13    term “physiological monitoring” appropriately limits these RFPs to exclude features of the
14    Apple Watch that are not at issue, such as the clock and calendar. This is also a common
15    term that the parties have used to target relevant issues in other aspects of this case. For
16    example, the protective order requires experts to identify work in “non-invasive
17    physiological monitoring technologies.” Dkt. 67 at 14. The prosecution bar similarly
18    refers to “non-invasive monitoring.” Id. at 17.
19          Apple has also agreed that the term “physiological monitoring” appropriately
20    narrows the scope of other RFPs in this case. See Ex. 17 at 2 (Apple agreeing to limit RFPs
21    214 and 215 to “Apple implementing any physiological monitoring products”); Ex. 21 at
22    2 and 4 (Apple suggesting the parties limit RFPs 207, 244, and 246 to “physiological
23    monitoring”). Apple also used the same term in its own RFPs to Plaintiffs just a few weeks
24    ago. See, e.g., Ex. 30 at RFP 132 (“All Documents reflecting Your efforts to track Apple’s
25    development and marketing of any non-invasive physiological monitoring technology”),
26    id. at RFP 133 (“All of Your draft and published technical bulletins and whitepapers
27    relating to non-invasive physiological monitoring technology”). Even if “physiological
28    monitoring” includes some parameters not directly at issue here, discovery on those other

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1     parameters is relevant to damages because it shows the value Apple places on performance
 2    and accuracy. Such evidence is relevant to show the value and importance that Apple
 3    placed on acquiring Plaintiffs’ technology.
 4          Accordingly, Apple has not shown why discovery should be limited. The Court
 5    should overrule Apple’s objections and order Apple to produce all responsive documents.
 6    B.    Apple’s Position
 7          Apple already agreed to produce documents responsive to Plaintiffs’ RFPs 71–77
 8    and 83–86 to the extent they relate to Plaintiffs’ alleged trade secrets. In moving to compel
 9    more in response to these RFPs, Plaintiffs admit that the requests go well beyond their
10    alleged trade secrets. Accordingly, these RFPs are overbroad—and, in turn, not relevant
11    or proportional to the needs of this case—at least for the reasons explained in Sections
12    II.B.2.a–.b.9
13          These requests are also overbroad for the related reason that “physiological
14    monitoring”—as Plaintiffs are using that term—goes far beyond the issues in this case.
15    This term would, for example, include the Apple Watch’s electrocardiogram (ECG)
16    functionality, which measures the timing and strength of the electrical signals comprising
17    a person’s heartbeat. See generally Plaintiffs’ Ex. 32, at 642–43. This functionality is
18    unrelated to calculating heart rate or                    using LEDs (or any form of light
19    emitters), and thus has nothing to do with any of the issues in this case. Plaintiffs
20    acknowledge as much in this Joint Stipulation, distinguishing the Apple Watch’s ECG
21    functionality (for which they are not alleging misappropriation) and heart rate
22    functionalities (for which they are alleging misappropriation). See J.S. 86. But measuring
23    the timing and strength of a person’s heartbeat plainly qualifies as “physiological
24    monitoring,” and therefore documents related to the Apple Watch’s ECG functionality
25    would be covered by Plaintiffs’ RFPs. As another example, Plaintiffs’ use of the term
26

27    9
        For the reasons discussed above in Section II.B.5, Apple’s objections to these requests
28    are also not improper boilerplate objections.


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1     “physiological monitoring” would encompass the accelerometer functionality in the Apple
 2    Watch used to determine whether a person is moving, even though that functionality also
 3    has nothing to do with any issues in this case (as Plaintiffs themselves have conceded
 4    during meet and confers). Rule 26 does not permit Plaintiffs such expansive discovery into
 5    every unrelated facet of Apple’s technology.
 6          Plaintiffs’ arguments to the contrary make no sense. On one hand, Plaintiffs assert
 7    that “physiological monitoring” is “a common term that the parties have used to target
 8    relevant issues,” and argue that Apple has used this term in its own requests and to limit
 9    other RFPs. J.S. 59. On the other hand, Plaintiffs admit that their requests use that term
10    in a way that “includes some parameters not directly at issue here.” Id. The disconnect
11    stems from the fact that Plaintiffs—unlike Apple—are not using this term as limited by the
12    issues in this case. To be clear, Apple has consistently used the term “physiological
13    monitoring” to refer to the specific physiological monitoring functionalities that are related
14    to Plaintiffs’ alleged trade secrets and are thus at issue in this case. Apple has never agreed
15    that “physiological monitoring” may refer to other, unrelated functionalities simply
16    because they could monitor a person’s physiological parameters in some way. Although
17    Plaintiffs half-heartedly argue that discovery into such unrelated features is somehow
18    relevant to damages and to the purported “value and importance that Apple placed on”
19    supposedly acquiring Plaintiffs’ alleged trade secrets,10 they do not explain how that is the
20    case—because it is not. Discovery into technology unrelated to Plaintiffs’ alleged trade
21    secrets cannot possibly evidence Apple’s efforts to acquire the alleged trade secrets or
22    damages concerning any alleged misappropriation of those alleged trade secrets. Plaintiffs
23    cannot allege trade secret misappropriation of specific aspects of a product and then get
24

25    10
        Plaintiffs’ attempt to supply relevance based on the purported “value and importance” to
26    Apple of any physiological parameter should also be rejected for the simple reason that
      Plaintiffs can make that argument with respect to any functionality of the Apple Watch,
27    regardless of whether it has anything to do with this case. The only purported “value and
28    importance” relevant here is that tied to Plaintiffs’ alleged trade secrets.


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1     discovery about other, unrelated aspects of the product—by simply pointing to the common
 2    product. That defeats the very purposes of Rule 26 and Section 2019.210.
 3          Moreover, RFP 73 is not even limited to physiological monitoring, but rather
 4    requests “[a]ll documents concerning any changes made to firmware, software, or
 5    comments thereto, between the Apple Watch Series 3 and Apple Watch Series 4 and later.”
 6    J.S. 47. RFP 73 therefore would cover any software update made to the Apple Watch—
 7    and there are thousands of such updates—even if it concerned software for functionalities
 8    completely unrelated to anything at issue in this case, such as, for example, “the clock and
 9    calendar” apps mentioned by Plaintiffs. J.S. 59. Plaintiffs are not entitled under Rule 26
10    to such unbounded discovery. See Liberty Ins., 2013 WL 12140335, at *2. Plaintiffs’
11    motion to compel should be denied with respect to all of the RFPs at issue in this section
12    of the motion.
13                           [remainder of page left intentionally blank]
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1                           IV. PLAINTIFFS’ RFP NOS. 97 AND 100
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 97 and 100,
 3    and Apple’s response to each request. The parties’ respective points and authorities follow
 4    below.
 5          REQUEST FOR PRODUCTION NO. 97:
 6               All documents and things that refer or relate to any comparison between
            any Masimo or Cercacor product or technology and any of the Apple Watch
 7
            Products.
 8
            RESPONSE TO REQUEST FOR PRODUCTION NO. 97:
 9                Apple incorporates by reference its General Objections and Objections
10          to Definitions and Instructions.
11                 Apple objects to this Request to the extent it seeks documents and
            things protected from discovery by the attorney-client privilege, the work-
12          product doctrine, the common-interest privilege, and/or any other applicable
13          privilege, immunity, or protection. Apple objects to this Request as overbroad
            and unduly burdensome to the extent it seeks information neither relevant to
14          the issues in the present action nor reasonably calculated to lead to the
15          discovery of admissible evidence. Apple objects to this Request to the extent
            it seeks documents related to products that are not relevant to this litigation or
16          documents related to products Plaintiffs have not identified in their Complaint
17          or otherwise accused of infringement. Apple objects to this Request as
            overbroad and unduly burdensome because it is not limited to the publicly
18          released Apple Watch Series 3-5 devices identified and alleged in Plaintiffs’
19          infringement allegations to infringe the Asserted Patents. Apple objects to this
            Request as overbroad and unduly burdensome to the extent it requests
20          information predating the release of the Accused Products and, in fact, is not
21          limited to any relevant time period. Apple expressly preserves its objection to
            producing any documents or things that relate to Plaintiffs’ trade secret
22          misappropriation claim, even if they also relate to other claims, until Plaintiffs
23          comply with Section 2019.210. Nonetheless, based on this Court’s April 17,
            June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will withhold only
24          documents or things that relate solely to Plaintiffs’ trade secret
25          misappropriation claim until Plaintiffs comply with Section 2019.210—
            without waiving, or intending to waive, the preceding objection.
26
                  Subject to and without waiver of the foregoing General and Specific
27          Objections and under the provisions of the Protective Order and ESI
28          Stipulation entered in this case, Apple responds that this Request is overly


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1           broad but is willing to meet and confer as part of the ESI negotiation process
 2
            to reach an agreement with Plaintiffs on custodians and search terms
            applicable to this Request.
 3
            REQUEST FOR PRODUCTION NO. 100:
 4
                  All documents and things that relate to any comparison of any of the
 5          Apple Watch Products to any of the Masimo or Cercacor products or
            technologies.
 6
            RESPONSE TO REQUEST FOR PRODUCTION NO. 100:
 7
                  Apple incorporates by reference its General Objections and Objections
 8          to Definitions and Instructions.
 9                 Apple objects to this Request to the extent it seeks documents and
            things protected from discovery by the attorney-client privilege, the work-
10
            product doctrine, the common interest privilege, and/or any other applicable
11          privilege, immunity, or protection. Apple objects to this Request as overbroad
12
            and unduly burdensome to the extent it seeks information neither relevant to
            the issues in the present action nor reasonably calculated to lead to the
13          discovery of admissible evidence. Apple objects to this Request to the extent
14
            it seeks documents related to products that are not relevant to this litigation or
            documents related to products Plaintiffs have not identified in their Complaint
15          or otherwise accused of infringement. Apple objects to this Request as vague,
16
            ambiguous, overly broad, and unduly burdensome because it uses the
            undefined phrase “Masimo or Cercacor products or technologies.” Apple
17          objects to this Request as overbroad and unduly burdensome because it is not
18          limited to the publicly released Apple Watch Series3-5 devices identified and
            alleged in Plaintiffs’ infringement allegations to infringe the Asserted Patents.
19          Apple objects to this Request as overbroad and unduly burdensome to the
20          extent it requests information predating the release of the Accused Products
            and, in fact, is not limited to any relevant time period. Apple expressly preserves
21          its objection to producing any documents or things that relate to Plaintiffs’
22          trade secret misappropriation claim, even if they also relate to other claims,
            until Plaintiffs comply with Section 2019.210. Nonetheless, based on this
23          Court’s April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple
24          will withhold only documents or things that relate solely to Plaintiffs’ trade
            secret misappropriation claim until Plaintiffs comply with Section
25          2019.210—without waiving, or intending to waive, the preceding objection.
26                Subject to and without waiver of the foregoing General and Specific
27
            Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case,Apple agrees to produce documents responsive
28


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1           to the unobjectionable scope of this Request, to the extent such information
 2          exists and is located after a reasonably diligent search.

 3    A.    Plaintiffs’ Position
 4          RFPs 97 and 100 seek comparisons between Plaintiffs’ products or technology and
 5    the Apple Watch. Documents showing Apple’s comparisons to Plaintiffs’ technology are
 6    relevant to showing Apple’s desire to obtain and use Plaintiffs’ technology.              Such
 7    documents could also show Apple’s knowledge that it was using Plaintiffs’ technology—
 8    an issue that Apple has hotly contested. See, e.g., Dkt. 237-1 at 15 (Apple arguing Plaintiffs
 9    failed to adequately allege “Apple knew or had reason to know” it was acquiring Plaintiffs’
10    trade secrets from Plaintiffs’ former employees). The requested documents would also be
11    relevant to showing the importance of Plaintiffs’ technology and Apple’s willful
12    misappropriation of trade secrets, which are relevant to damages, enhanced damages, and
13    attorneys’ fees. See Cal. Civ. Code § 3426.3. The RFPs are proportional to the needs of
14    the case for the same reasons discussed above. Among other things, these RFPs seek
15    relevant information, the amount in controversy is high, and Apple cannot claim it lacks
16    resources to search because it is the most valuable public company on earth.
17          Apple’s written responses included pages of boilerplate objections. Such “general
18    or boilerplate objections” are improper. Nguyen, 2019 WL 4579259, at *3. During the
19    meet and confer, Apple appeared to drop all of its objections. See Ex. 24 at 9. However,
20    Apple stated it will produce only “documents responsive to these [requests] to the extent
21    they relate to the alleged trade secrets in Plaintiffs’ Section 2019.210 disclosure . . . .” Id.
22    Because Apple appears to have dropped all of its objections, Apple cannot unilaterally limit
23    its commitment to produce documents. See Kilroy, 2018 WL 6071089, at *1.
24          Apple’s Section 2019.210 limitation also lacks merit for the reasons discussed
25    above. See Section II.A.2.c, supra. Apple’s limitation would permit it to unilaterally
26    withhold vast and unknown information if Apple determines the information in a particular
27    document is not directly relevant to Plaintiffs’ Section 2019.210 statement. As discussed,
28    permitting such a unilateral decision of relevance would be extremely prejudicial,

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1     particularly because Apple has already indicated that it has a very narrow view of relevance
 2    in this case. Apple’s limitation would also allow it to withhold evidence showing it
 3    misappropriated other trade secrets of which Plaintiffs are not yet aware. That would be
 4    improper. See Perlan Therapeutics, 178 Cal. App. 4th at 1350.
 5          Accordingly, Apple has not shown why discovery should be limited. The Court
 6    should overrule Apple’s objections and order Apple to produce all responsive documents.
 7    B.    Apple’s Position
 8          Apple already agreed to produce documents responsive to Plaintiffs’ RFPs 97 and
 9    100 to the extent they relate to Plaintiffs’ alleged trade secrets. These RFPs are overbroad
10    because they go well beyond the alleged trade secrets identified in Plaintiffs’ Section
11    2019.210 disclosure—and therefore are not relevant or proportional.
12          The following example illustrates the problem. Masimo developed an app for the
13    iPhone called “Masimo Personal Health,” which integrates with Masimo’s pulse oximetry
14    devices to provide various physiological information measured by its own device. Samplin
15    Decl. Ex. L. This app is not implicated in this case in any way. See id. However, if,
16    hypothetically, Apple had investigated whether Plaintiffs’ app could also run on the Watch
17    in addition to the iPhone, such a comparison would arguably fall under the broad scope of
18    Plaintiffs’ RFPs 97 and 100, even though it would have no relevance to this case at all. As
19    another example, if Apple had, hypothetically, compared the accuracy of the clock on
20    Plaintiffs’ device to the time displayed on the Apple Watch, that comparison would not
21    implicate any of Plaintiffs’ alleged trade secrets. Nonetheless, such a comparison would
22    be covered by Plaintiffs’ RFPs 97 and 100.
23          These examples are merely hypotheticals, but they illustrate how far these discovery
24    requests exceed the scope of Plaintiffs’ alleged trade secrets. Accordingly, there requests
25    are overbroad and irrelevant at least for the reasons explained in Sections II.B.2-3, supra.
26    As with Apple’s other objections, its objections to these requests are also not improper
27    boilerplate objections. See Section II.B.4, supra. Apple already explained to Plaintiffs that
28    it will produce documents responsive to RFPs 97 and 100 to the extent they relate to the

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1     alleged trade secrets identified in Plaintiffs’ Section 2019.210 disclosure. Plaintiffs’
 2    motion to compel more in response to these RFPs should be denied.
 3                          [remainder of page left intentionally blank]
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1                           V. PLAINTIFFS’ RFPS 128, 129, 184, 196
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 128, 129, 184,
 3    and 196, and Apple’s response to each request. The parties’ respective points and
 4    authorities follow below.
 5          REQUEST FOR PRODUCTION NO. 128:
 6                 All communications between Defendant and Plaintiffs referring or
            relating to subject matter disclosed or claimed in the Disputed Patents.
 7
            RESPONSE TO REQUEST FOR PRODUCTION NO. 128:
 8
                  Apple incorporates by reference its General Objections and Objections
 9          to Definitions and Instructions.
10                  Apple objects to this Request to the extent that it seeks information
11          already in Plaintiffs’ possession or information that is obtainable from another
            source, such as publicly available materials, that is more convenient, less
12          burdensome, or less expensive. Apple objects to this Request as overbroad
13          and unduly burdensome to the extent it seeks documents not within Apple’s
            possession, custody, or control. Apple objects to this Request because it seeks
14          “all communications,” which will be negotiated and produced pursuant to the
15          ESI Order in this case. Apple objects to this Request to the extent it requires
            Apple to draw a legal conclusion in order to respond. Apple objects to this
16          Request as overbroad and unduly burdensome to the extent it seeks
17          information already in Plaintiffs’ possession, custody, or control. Apple
            expressly preserves its objection to producing any documents or things that
18          relate to Plaintiffs’ trade secret misappropriation claim, even if they also relate
19          to other claims, until Plaintiffs comply with Section 2019.210. Nonetheless,
            based on this Court’s April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54,
20          79), Apple will withhold only documents or things that relate solely to
21          Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply with
            Section 2019.210—without waiving, or intending to waive, the preceding
22          objection.
23                Subject to and without waiver of the foregoing General and Specific
24          Objections, Apple is willing to meet and confer regarding the scope of this
            Request.
25
            REQUEST FOR PRODUCTION NO. 129:
26
                  All communications between Defendant and any individual who
27          previously worked for Plaintiffs referring or relating to subject matter
            disclosed or claimed in the Disputed Patents.
28


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1           RESPONSE TO REQUEST FOR PRODUCTION NO. 129:
 2                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
 3
                    Apple objects to this Request to the extent it seeks documents and
 4
            things protected from discovery by the attorney-client privilege, the work-
 5          product doctrine, the common- interest privilege, and/or any other applicable
            privilege, immunity, or protection. Apple objects to this Request as overbroad
 6
            and unduly burdensome to the extent it seeks information neither relevant to
 7          the issues in the present action nor reasonably calculated to lead to the
            discovery of admissible evidence. Apple objects to this Request to the extent
 8
            that it seeks information already in Plaintiffs’ possession or information that
 9          is obtainable from another source, such as publicly available materials, that is
            more convenient, less burdensome, or less expensive. Apple objects to this
10
            Request as overbroad and unduly burdensome to the extent it seeks documents
11          not within Apple’s possession, custody, or control. Apple objects to this
            Request because it seeks “all communications,” which will be negotiated and
12
            produced pursuant to the ESI Order in this case. Apple objects to this Request
13          as overbroad and unduly burdensome to the extent it requests information
            predating the release of the Accused Products and, in fact, is not limited to
14
            any relevant time period. Apple objects to this Request to the extent it requires
15          Apple to draw a legal conclusion in order to respond. Apple objects to this
            Request as overbroad and unduly burdensome to the extent it seeks
16
            information already in Plaintiffs’ possession, custody, or control. Apple
17          expressly preserves its objection to producing any documents or things that
            relate to Plaintiffs’ trade secret misappropriation claim, even if they also relate
18
            to other claims, until Plaintiffs comply with Section 2019.210. Nonetheless,
19          based on this Court’s April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54,
            79), Apple will withhold only documents or things that relate solely to
20
            Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply with
21          Section 2019.210—without waiving, or intending to waive, the preceding
            objection.
22
                  Subject to and without waiver of the foregoing General and Specific
23
            Objections, Apple is willing to meet and confer regarding the scope of this
24          Request.
25          REQUEST FOR PRODUCTION NO. 184:
26                All documents and things that refer or relate to Apple implementing
            any of the technique(s) described in U.S. Patent Nos. 10,219,754 and
27          9,952,095 in any of Apple’s products.
28


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1           RESPONSE TO REQUEST FOR PRODUCTION NO. 184:
 2                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
 3
                   Apple objects to this Request to the extent it seeks documents and
 4
            things protected from discovery by the attorney-client privilege, the work-
 5          product doctrine, the common- interest privilege, and/or any other applicable
            privilege, immunity, or protection. Apple objects to this Request as overbroad
 6
            and unduly burdensome to the extent it seeks information neither relevant to
 7          the issues in the present action nor reasonably calculated to lead to the
            discovery of admissible evidence and is not limited to any relevant time
 8
            period. Apple objects to this Request as vague, ambiguous, including because
 9          it uses the undefined phrase “technique.” Apple objects to this Request on the
            grounds that it is overly broad and unduly burdensome because it requests “all
10
            documents and things”relating to the subject matter of the Request.
11                 Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
12          2020, is deficient, including for reasons identified in Apple’s October 16,
            2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
13          compliance with Section 2019.210, Apple declines to respond to this Request
14          at this time. Within thirty days after Apple (or the Court) determines that
            Plaintiffs have provided an amended disclosure that complies with Section
15          2019.210, Apple will amend its response to this Request, to the extent
16          necessary.
17          REQUEST FOR PRODUCTION NO. 196:

18                All documents and things that refer or relate to Apple implementing
            any of the technique(s) described in U.S. Patent Nos. 9,723,997 and
19          10,524,671 in any of Apple’s products.
20          RESPONSE TO REQUEST FOR PRODUCTION NO. 196:
21                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
22
                   Apple objects to this Request to the extent it seeks documents and
23          things protected from discovery by the attorney-client privilege, the work-
24          product doctrine, the common- interest privilege, and/or any other applicable
            privilege, immunity, or protection. Apple objects to this Request as overbroad
25          and unduly burdensome to the extent it seeks information neither relevant to
26          the issues in the present action nor reasonably calculated to lead to the
            discovery of admissible evidence and is not limited to any relevant time
27          period. Apple objects to this Request as vague, ambiguous, including because
28          it uses the undefined phrase “technique.” Apple objects to this Request on the

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1           grounds that it is overly broad and unduly burdensome because it requests “all
 2
            documents and things” relating to the subject matter of the Request.
                   Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
 3
            2020, is deficient, including for reasons identified in Apple’s October 16,
 4          2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
            compliance with Section 2019.210, Apple declines to respond to this Request
 5
            at this time. Within thirty days after Apple (or the Court) determines that
 6          Plaintiffs have provided an amended disclosure that complies with Section
            2019.210, Apple will amend its response to this Request, to the extent
 7
            necessary.
 8

 9    A.    Plaintiffs’ Position
10          Plaintiffs’ RFPs seek information about the “Disputed Patents,” which is defined to
11    include the Apple patents and patent applications that are the subject of Plaintiffs’
12    correction of inventorship / ownership claims. RFPs 128 and 129 seek communications
13    between Defendant and Plaintiffs or Plaintiffs’ former employees relating to the subject
14    matter disclosed or claimed in the Disputed Patents.11 RFPs 184 and 196 seek documents
15    about Apple implementing techniques described in four of the Disputed Patents (the ’750,
16    ’095, ’997, and ’671 Patents), which Plaintiffs contend contain Plaintiffs’ trade secrets.
17    Such RFPs are relevant and proportional to the needs of the case. Such documents are
18    relevant, for example, to Plaintiffs’ correction of inventorship / ownership claims because
19    they would show where subject matter disclosed in those patents originated. The requested
20    documents are also relevant to Plaintiffs’ trade secret claims because they would show
21    whether one of Plaintiffs’ former employees disclosed subject matter to Apple. The RFPs
22    are proportional to the needs of the case for the same reasons discussed above. Among
23

24    11
        Apple may argue Plaintiffs should already possess documents responsive to RFP 128,
25    which concerns communications between Plaintiffs and Apple.                Even if such
26    communications are present in Plaintiffs’ files somewhere, Apple should still produce
      copies of communications because Plaintiffs may not be aware of all such communications.
27    For example, Apple may have obtained information from Plaintiffs’ employees without
28    Plaintiffs themselves knowing the exchange occurred.


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1     other things, these RFPs seek directly relevant information, the amount in controversy is
 2    high, and Apple cannot claim it lacks resources to search because it is the most valuable
 3    public company on earth.
 4          Apple’s written responses included pages of boilerplate objections. Such “general
 5    or boilerplate objections” are improper. Nguyen, 2019 WL 4579259, at *3. During the
 6    meet and confer, Apple appeared to drop all of its objections except its objection that the
 7    RFPs are “overbroad and unduly burdensome to the extent the RFPs seek documents that
 8    are not relevant to the claims or defenses in this case.” See Ex. 24 at 6. Based on that
 9    objection, Apple states it will produce only narrow subsets of responsive documents that
10    refer or relate to “subject matter claimed” in the Disputed Patents and implementation of
11    the “claimed inventions” of certain patents. Id. at 6. Apple thus seeks to withhold all
12    documents about subject matter disclosed—but not claimed—in the Disputed Patents.
13          Apple’s objection and limitation lack merit. While the ultimate merits of an
14    inventorship claim are determined with respect to the claimed subject matter, the scope of
15    discovery is not limited to smoking gun documents that would prove the merits of a claim
16    or even documents that would be admissible in evidence. See Fed. R. Civ. P. 26.
17    Documents discussing subject matter disclosed in the disputed patents are relevant to
18    provide important context as to who developed what portion of the disputed patents. That
19    is true even if the documents themselves do not directly resolve the question of who
20    invented the claimed subject matter.12 Moreover, Apple’s unilateral limitation would
21    permit it to withhold any document that Apple itself determines does not pertain to the
22

23
      12
24      Apple previously moved to compel on an interrogatory seeking Plaintiffs’ contentions
      as to precisely what in each patent was developed by Plaintiffs’ employees. Plaintiffs
25    argued that Apple’s request was overbroad and sought irrelevant information because
26    inventorship is determined with respect to the claimed subject matter. Dkt. 288-1 at 26.
      Apple’s request for contentions is not the same as Plaintiffs’ request for documents
27    concerning the subject matter of Apple’s patents, which may provide relevant discovery
28    under the correct standard for inventorship.


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1     claimed subject matter. Similar to Apple’s Section 2019.210 limitation, permitting Apple
 2    to make such unilateral determinations of relevance is inappropriate because Apple has
 3    already shown it has an unduly narrow view of “relevance.” See Section II.A.2.c, supra.
 4          Moreover, the requested information is also directly relevant to Plaintiffs’ trade
 5    secret that Apple Apple used and disclosed Plaintiffs’ trade secrets by incorporating them
 6    into Apple’s patents. To prevail on a trade secret claim, Plaintiffs need only prove
 7    improper use or disclosure—not that material was actually claimed in Apple’s patent.
 8    Thus, information about subject matter that was disclosed but not claimed in Apple’s
 9    patents is directly relevant to Plaintiffs’ trade secret claim.
10          Accordingly, Apple has not shown why discovery should be limited. The Court
11    should overrule Apple’s objections and order Apple to produce all responsive documents.
12    B.    Apple’s Position
13          RFPs 128 and 129 seek communications regarding the “Disputed Patents,” which
14    are the Apple patents and patent applications that are the subject of Plaintiffs’ correction
15    of inventorship and ownership claims. J.S. 68-69. RFPs 184 and 196 seek documents
16    regarding a particular subset of the Disputed Patents (the ’754, ’095, ’997, and ’671
17    Patents). Id. at 69-70. In addition to its inventorship and ownership claims, Plaintiffs
18    contend that the subset of Disputed Patents in RFPs 184 and 196 disclose Plaintiffs’ trade
19    secrets. J.S. 71.
20          Correction of inventorship/ownership is a claim-specific inquiry.          Indeed, in
21    opposing Apple’s motion to compel an identification of each alleged inventor’s alleged
22    contribution to the patents by “column and line number” of the specification, Plaintiffs
23    argued that such information “is irrelevant because inventorship is based on the claims, not
24    the specification.” Samplin Decl. Ex. E, at 93, 107 (Dkt. 288-1 at 12, 26) (citing Egenera,
25    Inc. v. Cisco Sys., Inc., 972 F.3d 1367, 1376 (Fed. Cir. 2020)). Here, Apple agreed to
26    produce documents responsive to these RFPs to the extent they refer or relate to subject
27    matter claimed by the claims of the Disputed Patents to which Plaintiffs allege the Alleged
28    Inventors contributes. Despite Plaintiffs’ prior position that information related the claims

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1     is all that is relevant, Plaintiffs rejected Apple’s proposal. Plaintiffs’ argument that
 2    discovery into the disclosed subject matter of the Disputed Patents is “relevant to provide
 3    important context as to who developed what portion of the disputed patents,” J.S. 72, makes
 4    little sense, because it is irrelevant who developed any subject matter that is disclosed but
 5    unclaimed.    Yet Plaintiffs now attempt to distinguish their previous arguments by
 6    differentiating (without providing any substantiation or case law support) between a
 7    request for contentions versus requests for documents. This is a distinction without a
 8    difference.
 9          The overbreadth of these RFPs is clear upon analysis of the unclaimed subject matter
10    in the Disputed Patents. For example, the ’052 Patent specification discloses a “health
11    monitoring device” that can be “a smart phone, a gaming device, a digital music player, a
12    sports accessory device,” etc. Samplin Decl. Ex. M at 187 (’052 Patent at 5:52–57). In
13    effect, this would require Apple to produce all communications referring or relating to
14    health monitoring in any device, including the iPhone, iPad, and iPod, in addition to any
15    unreleased or prototype devices, which are not at issue in this case. By contrast, the
16    claimed subject matter of the ’052 Patent relates to a particular electronic device, sensor
17    system, and method of optical sensing that each include specific electronic components
18    and/or processes (i.e., amplifiers, filters, etc.). Id. at 185 (’052 Patent at 1:16–18, 1:42–
19    2:47). Discovery should be limited to these claimed features, which are the features that
20    are at issue in resolving Plaintiffs’ correction of inventorship/ownership allegations related
21    to the Disputed Patents.
22          Plaintiffs’ argument that RFPs 128–129 seek communications that are “relevant to
23    Plaintiffs’ trade secret claims because they would show whether one of Plaintiffs’ former
24    employees disclosed subject matter to Apple” is misplaced. J.S. 71. These RFPs are not
25    limited to Plaintiffs’ alleged trade secrets because they seek all communications
26    concerning the subject matter of these patents. Critically, Plaintiffs have refused to inform
27    Apple of all locations in these patents where they claim their alleged trade secrets are
28    disclosed. The only information on this topic Plaintiffs have supplied to date is their

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1                          VI. PLAINTIFFS’ RFP NOS. 242 AND 243
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 242 and 243,
 3    and Apple’s response to each request. The parties’ respective points and authorities follow
 4    below.
 5          REQUEST FOR PRODUCTION NO. 242:
 6                All draft and filed patent applications that refer or relate to
            physiological monitoring technology.
 7
            RESPONSE TO REQUEST FOR PRODUCTION NO. 242:
 8
                  Apple incorporates by reference its General Objections and Objections
 9          to Definitions and Instructions.
10                 Apple objects to this Request to the extent it seeks documents and
11          things protected from discovery by the attorney-client privilege, the work-
            product doctrine, the common-interest privilege, and/or any other applicable
12          privilege, immunity, or protection. Apple objects to this Request as overbroad
13          and unduly burdensome to the extent it seeks information neither relevant to
            the issues in the present action nor reasonably calculated to lead to the
14          discovery of admissible evidence and is not limited to any relevant time
15          period. Apple objects to this Request as vague, ambiguous, overly broad, and
            unduly burdensome, including because it uses the undefined phrase
16          “physiological monitoring technology.”
17                 Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
18
            2020, is deficient, including for reasons identified in Apple’s October 16,
            2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
19          compliance with Section 2019.210, Apple declines to respond to this Request
20
            at this time. Within thirty days after Apple (or the Court) determines that
            Plaintiffs have provided an amended disclosure that complies with Section
21          2019.210, Apple will amend its response to this Request, to the extent
22          necessary.
            REQUEST FOR PRODUCTION NO. 243:
23
                  All patent applications that refer or relate to physiological monitoring
24
            technology and as to which Apple has or intends to submit a request for
25          nonpublication.
26          RESPONSE TO REQUEST FOR PRODUCTION NO. 243:
27                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
28


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1                  Apple objects to this Request to the extent it seeks documents and
 2
            things protected from discovery by the attorney-client privilege, the work-
            product doctrine, the common- interest privilege, and/or any other applicable
 3          privilege, immunity, or protection. Apple objects to this Request as overbroad
 4          and unduly burdensome to the extent it seeks information neither relevant to
            the issues in the present action nor reasonably calculated to lead to the
 5          discovery of admissible evidence and is not limited to any relevant time
 6          period. Apple objects to this Request as vague, ambiguous, overly broad, and
            unduly burdensome, including because it uses the undefined phrase
 7          “physiological monitoring technology.”
 8                 Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
            2020, is deficient, including for reasons identified in Apple’s October 16,
 9
            2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
10          compliance with Section 2019.210, Apple declines to respond to this Request
11
            at this time. Within thirty days after Apple (or the Court) determines that
            Plaintiffs have provided an amended disclosure that complies with Section
12          2019.210, Apple will amend its response to this Request, to the extent
13
            necessary.

14    A.    Plaintiffs’ Position
15          RFPs 242 and 243 seek copies of Apple’s patent applications that have not yet issued
16    and refer or relate to physiological monitoring technology. The RFPs are highly relevant
17    to this case because Plaintiffs allege that Apple misappropriated Plaintiffs’ trade secrets by
18    publishing them in patent applications. See e.g., Ex. 26 ¶¶ 231-233, 235-236, 243-244.
19    Plaintiffs previously moved for a preliminary injunction based on Apple publishing some
20    of Plaintiffs’ trade secrets in patent applications. Dkt. 116 at 1. Plaintiffs requested the
21    Court prohibit Apple from publishing other applications without providing advance
22    warning to Plaintiffs. Id. Judge Selna determined that Plaintiffs were likely to succeed on
23    the merits of proving their trade secret claim with respect to the information Apple already
24    disclosed in patent applications. Ex. 29 at 7, 9, 10. However, the Court denied the
25    preliminary injunction on the basis that Plaintiffs had not shown it was “likely” that Apple
26    would publish additional trade secrets in any particular patent application. Id. at 11. The
27    only way Plaintiffs will be able to show it is “likely” that Apple would publish additional
28    trade secrets in patent applications is if Apple produces those patent applications in

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1     discovery before the applications publish. These RFPs are therefore highly relevant and
 2    proportional to the needs of the case.
 3          Apple’s written responses included pages of boilerplate objections. Such “general
 4    or boilerplate objections” are improper. Nguyen, 2019 WL 4579259, at *3. During the
 5    meet and confer, Apple appeared to drop all of its objections except its objection that RFP
 6    242 is “overbroad to the extent it seeks draft patent applications” and RFP 243 is
 7    “overbroad to the extent it seeks patent applications for which Apple has submitted or
 8    intends to submit a request for non-publication.” Ex. 24 at 8. Apple argued the RFPs are
 9    “not tailored to the claims or defenses at issue in this case and Plaintiffs have not articulated
10    their purported relevance.” Id.
11          Apple’s objection lacks merit. As discussed above, the RFPs seek information that
12    is directly relevant to Plaintiffs’ trade secret claims. Draft patent applications are important
13    to showing the relative contributions by each individual, including Plaintiffs’ former
14    employees. Patent applications that Apple asked to remain unpublished are relevant to
15    Plaintiffs’ trade secret claims for the reasons discussed above. Apple’s attempt to prevent
16    discovery of all applications that have not published would rob Plaintiffs of the opportunity
17    to show it is likely that Apple will published additional trade secrets. As Apple’s own cited
18    authority explained, “the loss of trade secrets cannot be measured in money damages
19    because a trade secret once lost is lost forever.” Super Chefs, Inc. v. Second Bite Foods,
20    Inc., 2015 WL 12914441, at *5 (C.D. Cal. June 11, 2015). Indeed, by the time Apple adds
21    its portion of this joint stipulation and the parties file this Motion, Apple will have filed a
22    motion to de-designate some of Plaintiffs’ trade secrets by arguing Apple’s own
23    publication forever destroyed the trade secret. The minimal burden in Apple producing
24    unpublished patent applications is far outweighed by the possibility that Apple publishes
25    additional trade secrets belonging to Plaintiffs.
26          Apple has previously argued it has a “statutory right to keep its pending patent
27    applications secret (see 35 U.S.C. § 122(b)(2)(B)), and the standard for seeking discovery
28    on pending patent applications is correspondingly heightened.” Dkt. 139-1 at 22. But

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1     Apple merely cited garden variety patent cases. See ICU Med., Inc. v. B.Braun Med., Inc.,
 2    224 F.R.D. 461, 462 (N.D. Cal. 2002) (denying motion to compel production of “all
 3    pending patent applications that claim priority to, make reference to, or are otherwise
 4    related to the patents-in-suit, including their prosecution histories”); Ideal Toy Corp. v.
 5    Tyco Indus., Inc., 478 F. Supp. 1191, 1192 (D. Del. 1979) (denying patent defendant’s
 6    motion to compel production of file wrappers of abandoned and pending patent
 7    applications to determine if they contained information that would “reflect adversely on
 8    the validity of the patents in suit”); see also Wolowitz v. United States, 1975 WL 21125, at
 9    *1 (Ct. Cl. 1975) (explaining “the relevancy of a pending patent application to this
10    particular lawsuit has not been adequately shown”). Apple cited no authority supporting
11    its request to limit such discovery in a trade secret case alleging misappropriation based on
12    patent publications.
13          Moreover, Apple’s own cited authority explained that the secrecy requirements of
14    35 U.S.C. § 122 are “not applicable to the United States District Court.” See Ideal Toy,
15    478 F. Supp. at 1192-93. The Ideal Toy case also cited several authorities that did order
16    production of pending patent applications where a protective order limited their disclosure
17    to attorneys’ eyes only. See id. at 1193 (citing Scovill Manufacturing Co. v. Sunbeam
18    Corp., 61 F.R.D. 598, 602 (D. Del. 1973); Celanese Corp. v. E. I. duPont de Nemours &
19    Co., 58 F.R.D. 606, 611 (D. Del. 1973); Crown Machine & Tool Co. v. KVP-Sutherland
20    Paper Co., 244 F. Supp. 543, 544 (N.D. Cal. 1965)). Such is the case here, where the
21    Protective Order already provides that Apple can produce the applications as “HIGHLY
22    CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” See Dkt. 67 ¶ 4.4. Apple has not
23    shown why discovery should be limited. The Court should overrule Apple’s objections
24    and order Apple to produce all responsive documents.
25    B.    Apple’s Position
26          RFPs 242 and 243 seek Apple’s draft and filed patent applications that refer or relate
27    to any physiological monitoring technology, including those for which Apple has or intends
28    to submit a request for nonpublication. J.S. 76–77. These RFPs are overbroad at least to

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1     the extent they seek information about physiological monitoring technologies that are not
 2    related to the alleged technical trade secrets identified in Plaintiffs’ Section 2019.210
 3    disclosure. See Section II.B, supra. In addition, these RFPs are not limited to patent
 4    applications listing Plaintiffs’ former employees as inventors, and therefore are not tailored
 5    to Plaintiffs’ purported efforts to learn the relative contributions of Plaintiffs’ former
 6    employees, J.S. 77. Indeed, the preliminary injunction Plaintiffs previously sought (which
 7    was denied) requested the prevention of publication of only those patent applications
 8    naming Plaintiffs’ former employees as inventors. See Samplin Decl. Ex. A, at 7 (Dkt.
 9    108-1). Thus, even Plaintiffs’ justification for these RFPs—to obtain discovery that might
10    buttress their previously requested preliminary injunction, J.S. 76–77—exposes their
11    overbreadth.
12          Notably, Plaintiffs admit that these RFPs reflect nothing more than a fishing
13    expedition to try and uncover evidence to “be able to show it is ‘likely’ that Apple would
14    publish additional trade secrets in patent applications”—i.e., what Judge Selna held that
15    they could not show in connection with their motion for a preliminary injunction. Section
16    VI.A, supra. Plaintiffs’ request for a preliminary injunction on this topic was denied. They
17    should not be permitted to propound speculative RFPs to sift through Apple’s files in an
18    effort to manufacture cause for an injunction now. See Rivera v. NIBCO, Inc., 364 F.3d
19    1057, 1072 (9th Cir. 2004) (“District courts need not condone the use of discovery to
20    engage in ‘fishing expeditions.’”). Plaintiffs do not cite any authority for a contrary
21    proposition.
22          Critically, the burden of responding to such overbroad requests is particularly acute
23    here. Apple is widely considered to be the number one innovative company in the world,
24    and accordingly files a very large number of patents applications. Moreover, these requests
25    seek patent applications concerning “physiological monitoring,” and given Plaintiffs’
26    broad reading of the term “physiological monitoring” (and their admission that this term
27    “includes some parameters not directly at issue” in this case), see J.S. 59–60, there could
28    be potentially thousands of patent applications responsive to these RFPs. The burden on

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1     Apple if it were required to review each one to determine its relevance to Plaintiffs’ alleged
 2    trade secrets would plainly be disproportional to the needs of this case.
 3          Accordingly, Plaintiffs’ motion with respect to RFPs 242 and 243 should be denied.
 4    At a minimum, RFPs 242 and 243 should be limited to patent applications that both: (1)
 5    are related to the specific technologies described in Plaintiffs’ Section 2019.210 disclosure,
 6    and (2) list Plaintiffs’ former employees as inventors.
 7                            [remainder of page left intentionally blank]
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1                        VII. PLAINTIFFS’ INTERROGATORIES 7-8
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ Interrogatories 7 and
 3    8, and Apple’s response to each request. The parties’ respective points and authorities
 4    follow below.
 5          INTERROGATORY NO. 7:
 6                Describe in detail, with reference to any supporting documents,
            information, and materials, the design and development of each Apple Watch
 7
            Product, including without limitation, when and where the product is and/or
 8          was developed (including third party facilities), when and where each product
            was first released to market, a detailed description of when and why each
 9
            design change, modification, and improvement concerning physiological
10          monitoring was made between each series of the Apple Watch, a detailed
            description of the complete development of physiological monitoring
11
            capabilities used in the Apple Watch Products, the identity of any competitive
12          products examined, analyzed or tested in connection with its design or
            development, each person or entity involved in designing and developing the
13
            Apple Watch Products, and what roleeach person or entity had in creating the
14          Apple Watch Products.
15          RESPONSE TO INTERROGATORY NO. 7 (AUGUST 17, 2020):
16                 Apple hereby restates and incorporates the General Objections above
            as though fully set forth herein. Apple objects to this Interrogatory to the
17          extent it seeks information or things protected by the attorney-client privilege,
18          attorney work product doctrine, or any other applicable privilege, immunity,
            or protection. Apple objects to this Interrogatory as overly broad and unduly
19          burdensome in that it seeks information related to technical features that are
20          not relevant to this litigation. Apple objects to thisInterrogatory to the extent
            it seeks information related to products that are not relevant to this litigation,
21
            which Masimo has not identified in its Complaint or otherwise accused of
22          infringement. Apple objects to this Interrogatory as overbroad and unduly
            burdensome because it is not limited to the publicly released Apple Watch
23
            Series 3-5 devices identified and alleged in Plaintiffs’ infringement
24          allegations to infringe the Asserted Patents. Apple objects to this Interrogatory
            as overly broad and unduly burdensome because it is not reasonably limited to
25
            the scope of infringement allegationsin this litigation. Apple objects to this
26          Interrogatory as overbroad and unduly burdensome as it is not limited to any
            relevant time period. Apple objects to this Interrogatory as improper as it calls
27
            for a narrative. Apple objects to this Interrogatory to the extent it is compound
28          and comprises discrete subparts, and asserts that each subpart of each

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1           compound Interrogatory counts separately toward the discovery limits set
 2
            forth in the Federal Rules of Civil Procedure and the Local Rules of the United
            StatesDistrict Court for the Central District of California.
 3
                   Subject to and without waiving the foregoing General and Specific
 4          Objections, Apple responds as follows: The Apple Watch Series 3, 4, and 5
            products were developedin Cupertino, California. The Apple Watch Series 3
 5
            was first released to market on September 22, 2017. The Apple Watch Series
 6          4 was first released to market on September 21, 2018. The Apple Watch
            Series 5 was first released to market on September 20, 2019. For a detailed
 7
            description of the complete development of physiological monitoring
 8          capabilities used in the Apple Watch Products, Apple directs Plaintiffs to
            https://www.apple.com/newsroom/2017/09/apple-watch-series-3-features-
 9
            built-in-cellular-and-more/,
10          https://www.apple.com/newsroom/2018/09/redesigned- apple-watch-series-
11
            4-revolutionizes-communication-fitness-and-health/,                    and
            https://www.apple.com/newsroom/2019/09/apple-unveils-apple-watch-
12          series-5/. The Apple Watch Series 3, 4, and 5 products were designed and
13
            developed by teams led byBrian Land, Senior Manager, and Steve Waydo,
            Senior Manager.
14
                  Pursuant to Rule 33(d) of the Federal Rules of Civil Procedure, Apple
15          incorporates by reference the documents bearing bates numbers APL-
            MAS_00000001 through APL-MAS_00001192, as well as the source code it
16
            has made available for inspection in this action.
17
                   Apple reserves the right to supplement and/or amend its response to
18          this Interrogatory as it continues its investigation and as discovery progresses.
19          INTERROGATORY NO. 8:
20                 Describe in detail, with reference to any supporting documents,
            information, and materials, the design and development of the product
21          software related to physiological monitoring for each Apple Watch Product,
22          including without limitation, when and where each portion of the product
            software is and/or was developed (including third party facilities), all versions
23          or revisions (including name and/or version number) of the product software
24          developed at each facility, the development and/or code management software
            used to develop each such version of the product software, the version control
25          software or system used for each such version of the product software, the
26          procedure for recording changes between each such version of the product
            software, the process for releasing versions of the product software, each
27          person or entity involved in the design and development of the product
28


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1           software, and what role each person or entity had in the design and
 2
            development of the product software.
            RESPONSE TO INTERROGATORY NO. 8 (AUGUST 17, 2020):
 3
                   Apple hereby restates and incorporates the General Objections above
 4
            as though fully set forth herein. Apple objects to this Interrogatory to the
 5          extent it seeks information or things protected by the attorney-client privilege,
            attorney work product doctrine, or any other applicable privilege, immunity,
 6
            or protection. Apple objects to this Interrogatory as duplicative to the extent
 7          it seeks information sought by Interrogatory No. 7. Apple objects to this
            Interrogatory as overly broad and unduly burdensome in that it seeks
 8
            information related to technical features and/or software thatare not relevant to
 9          this litigation. Apple objects to this Interrogatory to the extent it seeks
            information related to products that are not relevant to this litigation, which
10
            Masimo has not identified in its Complaint or otherwise accused of
11          infringement. Apple objects to this Interrogatory as overbroad and unduly
            burdensome because it is not limited to the publicly released Apple Watch
12
            Series 3-5 devices identified and alleged in Plaintiffs’ infringement
13          allegations to infringe the Asserted Patents. Apple objects to this Requestas
            overly broad and unduly burdensome because it is not reasonably limited to the
14
            scope of infringement allegations in this litigation. Apple objects to this
15          Interrogatory as overbroad and unduly burdensome as it is not limited to any
            relevant time period. Appleobjects to this Interrogatory as improper as it calls
16
            for a narrative. Apple objects to this Interrogatory to the extent it is compound
17          and comprises discrete subparts, and asserts that each subpart of each
            compound Interrogatory counts separately toward the discovery limits set
18
            forth in the Federal Rules of Civil Procedure and the Local Rules ofthe United
19          States District Court for the Central District of California.
20                Subject to and without waiving the foregoing General and Specific
            Objections, Apple responds as follows:
21
                    Apple incorporates by reference its response to Interrogatory No. 7 in
22          its entirety.
23                 Pursuant to Rule 33(d) of the Federal Rules of Civil Procedure,
24          Apple incorporates by reference the documents bearing bates numbers APL-
            MAS_00000001through APL-MAS_00001192, as well as the source code
25          it has made available for inspection in this action.
26                 Apple reserves the right to supplement and/or amend its response to this
27
            Interrogatory as it continues its investigation and as discovery progresses.

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1     A.    Plaintiffs’ Position
 2          1.     Interrogatories 7 and 8 Seek Relevant Information And Are
 3                 Proportional To The Needs Of The Case
 4          Interrogatories 7 and 8 seek information about the software/hardware development
 5    of physiological monitoring capabilities of the Apple Watch. Interrogatory 8 is limited to
 6    physiological monitoring and Plaintiffs offered to further limit Interrogatory 7 to
 7    physiological monitoring during the meet and confer. See Ex. 23 at 3. Plaintiffs also
 8    offered to limit Interrogatories 7 and 8 to “light-based physiological monitoring,” so long
 9    as that includes other sensors used in the determination of a light-based physiological
10    parameter. Id. For example, the use of an accelerometer to detect motion for the oxygen
11    saturation measurement should be included.
12          Thus, Interrogatory 7 seeks descriptions of when and where the watch was released
13    to market, the development of light-based physiological monitoring features, the identity
14    of competitive products examined in developing such features, and the identity/role of each
15    person in creating such features. Interrogatory 8 seeks descriptions of the design and
16    development of software related to light-based physiological monitoring features,
17    including when and where such software was developed, identification of versions and
18    revisions, the code management system Apple uses, the procedure for recording changes
19    and releasing new versions, and the identity/role of each person in creating such features.
20          This technical information is at the core of this dispute. How Apple’s physiological
21    monitoring capabilities work and how they were developed is directly relevant to Plaintiffs’
22    trade secrets regarding those physiological monitoring capabilities. Interrogatory 8 is also
23    important to facilitate review of Apple’s source code by understanding how changes are
24    tracked, implemented, and stored in Apple’s software.           These interrogatories are
25    proportional to the needs of the case for the reasons discussed above. Among other things,
26    these interrogatories seek relevant information, the amount in controversy is high, and
27    Apple cannot claim it lacks resources to respond because it is the most valuable public
28    company on earth.

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1           2.     Apple’s Responses Are Deficient
 2          In response to Interrogatory 7, Apple (1) identified the location and date that the
 3    Apple Watch Series 3-5 were developed, (2) stated: “For a detailed description of the
 4    complete development of physiological monitoring capabilities used in the Apple Watch,
 5    Apple directs Plaintiffs to [three public Apple.com websites],” (3) identified two
 6    individuals who led Apple’s teams, and (4) referred to APL-MAS_00000001-00001192
 7    and its source code under Rule 33(d). Apple’s response to Interrogatory 8 merely
 8    incorporated its response to Interrogatory 7 by reference and referred to APL-
 9    MAS_00000001-00001192 and its source code under Rule 33(d). Apple’s responses are
10    deficient for many reasons.
11          First, Apple’s responses address only the Series 3-5 watches. Apple does not
12    mention the Series 1-2 watches, which are relevant and discoverable for the reasons
13    discussed above. See Section II.A.2.b, supra. Apple also does not mention the Series 6
14    and Series SE watches, which Apple released over six months ago in September 2020, and
15    which Plaintiffs allege incorporate Plaintiffs’ trade secrets.
16          Second, Apple’s assertion that public websites describe the “complete development”
17    of the physiological monitoring capabilities of the Apple Watch strains credulity and does
18    not constitute a good faith response. Indeed, the websites are merely press-release-style
19    websites that describe capabilities of the Series 3, 4, and 5 watches in broad terms. See
20    Exs. 31-33. The Series 3 website does not even mention Apple’s heart rate technology
21    other than to say it included an “updated Heart Rate app.” Ex. 31. The Series 4 website
22    mentions that Apple included a new “electrocardiogram (ECG)” sensor, but does not
23    mention any changes to the heart rate technology. Ex. 32. The Series 5 website does not
24    even mention the physiological monitoring capabilities of the Series 5. Ex. 33. The
25    websites do not discuss the development of the Apple Watch, much less the “complete”
26    development. Likewise, identifying the names of two individuals who led the development
27    teams at Apple does not actually describe Apple’s development efforts.
28


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1           Third, Apple’s reliance on Rule 33(d) is also misplaced. As the Court has explained,
 2    “identifying documents in response to an interrogatory pursuant to rule 33(d) is not
 3    appropriate in all circumstances.” Kaneka, 2016 WL 11266869, at *8. The answer to the
 4    interrogatory “must be capable of being determined by examining records without further
 5    explanation” and the burden must be “substantially the same for either party.” Id. Apple
 6    does not attempt to show that Plaintiffs can determine the answer to Interrogatories 7 and
 7    8 merely by referring to the documents it cites. Indeed, Apple’s documents use internal
 8    phrases and code words, and Apple has not yet produced full documentation or source
 9    code. Thus, merely referring to technical documents and source code does not permit
10    Plaintiffs to determine the answer to Interrogatories 7 and 8 “without further explanation.”
11    Id. Likewise, Apple is far more familiar with its documentation, source code, and code
12    words so the burden is not “substantially the same for either party.” Id.
13          Moreover, Apple appears to have made no attempt to identify specific documents
14    that would provide the requested information. Instead, it cited every single document and
15    all of its source code that it had produced as of the date of its interrogatory response. The
16    Court has explained that simply “referring to all the documents produced is inadequate”
17    under Rule 33(d). Ergocare, Inc. v. D.T. Davis Enterprises, Ltd., 2015 WL 13609787, at
18    *8 (C.D. Cal. June 17, 2015); see also Process Specialties, Inc. v. Sematech, Inc., 2002
19    WL 35646608, at *3 (E.D. Cal. Sept. 25, 2002) (Defendant “cannot simply refer to all
20    documents it produces during discovery. Rather the Rule requires that defendant specify
21    where in the records the pertinent information may be found.”). “Rule 33 cannot . . . be
22    used as a procedural device for avoiding the duty to give information by shifting the
23    obligation to find out whether information is ascertainable from the records which have
24    been tendered.” Budget Rent-A-Car Missouri, Inc. v. Hertz Corp., 55 F.R.D. 354, 357
25    (W.D.. Mo. 1972). Apple’s reliance on Rule 33(d) is inappropriate.
26          Fourth, Apple’s incorporation of Interrogatory 7 in its response to Interrogatory 8 is
27    irrelevant because Apple’s response to Interrogatory 7 is insufficient and did not answer
28    the question posed by Interrogatory No. 8.

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1           3.     Apple’s Objections Lack Merit
 2          Apple has no valid basis for refusing to provide a substantive response to
 3    Interrogatories 7 and 8. As discussed, Apple’s “general or boilerplate objections” in its
 4    written responses are inappropriate. See Nguyen, 2019 WL 4579259, at *3. During the
 5    meet and confer, Apple appeared to drop most of its objections. Ex. 24 at 4-5. Apple
 6    argued only that Interrogatory Nos. 7-8 are “overbroad and unduly burdensome because
 7    they are not limited to the techniques alleged by Plaintiffs as trade secrets that Apple
 8    purportedly misappropriated.” Id. at 4. As discussed above, in an effort to compromise,
 9    Plaintiffs offered to limit Interrogatories 7 and 8 to “light-based physiological monitoring,”
10    so long as that includes other sensors used in the determination of a light-based
11    physiological parameter. Ex. 23 at 3.
12          Apple rejected Plaintiffs’ compromise and, without offering any counter proposal,
13    demanded that Plaintiffs further narrow these interrogatories.         Ex. 24 at 5 (Apple
14    demanding Plaintiffs propose further modification to “specific information”).             But
15    Plaintiffs already narrowed these interrogatories. Apple’s current version of the watch
16    includes just two light-based parameters (pulse rate and oxygen saturation), both of which
17    are highly relevant for the reasons discussed above. Plaintiffs limitation would thus seek
18    information about those parameters, as well as other sensors (e.g., accelerometers) used in
19    the determination of those sensors. Plaintiffs seek a fair understanding of the development
20    and operation of those parameters. The text of the interrogatories also includes examples
21    of the specific information that Plaintiffs are seeking in response.
22          Apple also again attempted to unilaterally limit its response to information that
23    Apple determines is relevant to the trade secrets described in Plaintiffs’ Section 2019.210
24    statement. Ex. 24 at 4-5. That is improper for the reasons discussed above. See Section
25    II.A.3.a, supra. Apple should not be permitted to omit aspects of its algorithm that Apple
26    unilaterally contends is not relevant or does not misappropriate Plaintiffs’ trade secrets.
27    Indeed, Apple has made clear it intends to provide no information on pulse rate, which is
28


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1     highly relevant. Apple should provide a full and fair response without applying a unilateral
 2    Section 2019.210 relevance filter.
 3           Apple also objected to Interrogatory Nos. 7-8 as calling for a “narrative” regarding
 4    Apple’s design changes, modifications, and development of software processes. Ex. 24 at
 5    4. But that is the purpose of interrogatories—to obtain a descriptive answer rather than
 6    documents discussing an issue. See Subramani v. Wells Fargo Bank, N.A., 2014 WL
 7    7206888, at *2 (N.D. Cal. Dec. 18, 2014) (compelling further responses where the
 8    interrogatories properly called for “a narrative answer”); In re Savitt/Adler Litig., 176
 9    F.R.D. 44, 48 (N.D.N.Y. 1997) (overruling work product objection because the
10    interrogatories properly sought “a narrative answer, not a reference to documents or objects
11    where the answers might be found”).
12           Accordingly, Apple has not shown why discovery should be limited. The Court
13    should overrule Apple’s objections and order Apple to provide full and complete responses.
14    B.     Apple’s Position
15           Interrogatory Nos. 7 and 8 broadly concern the design and development of hardware
16    and software related to physiological monitoring of each Apple Watch product.
17    Specifically, Interrogatory No. 7 requests a narrative regarding each “design change,
18    modification, and improvement concerning physiological monitoring [that] was made
19    between each series of the Apple Watch,” as well as “a detailed description of the complete
20    development of physiological monitoring capabilities used in the Apple Watch Products.”
21    J.S. 82. Likewise, Interrogatory No. 8 requests a narrative regarding the development of
22    Apple’s software for all versions or revisions of physiological monitoring software,
23    software development processes, procedures for “recording changes,” and the “process for
24    releasing versions” of software. J.S. 83–84. Nonetheless, Apple responded to both
25    interrogatories with the responsive information that relates to the alleged trade secrets at
26    issue in this case.
27           Plaintiffs contend that Apple’s responses are insufficient, and that Apple should
28    respond with information that goes beyond that which is relevant to Plaintiffs’ alleged trade

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1     secrets—and further propose a “light-based” limitation to “physiological monitoring” in
 2    an effort to narrow both interrogatories. But even if limited to “light-based physiological
 3    monitoring,” J.S. 85, 88 (emphasis added), both interrogatories are overbroad and unduly
 4    burdensome, because they still seek information that goes well beyond the alleged trade
 5    secrets in Plaintiffs’ Section 2019.210 disclosure.
 6          As explained in Section II.B above, the alleged technical trade secrets described in
 7    Plaintiffs’ Section 2019.210 disclosure are much narrower in scope than “light-based
 8    physiological monitoring,” and are instead related to specific
 9

10

11                                                                               See Samplin Decl.
12    Ex. C, at 48, 50, 52, 64 (Plaintiffs’ Supp. Resp. to Apple’s 1st Set of Interrogs. (Nos. 6,
13    10–11) at 7, 9, 11, 23). Interrogatory Nos. 7 and 8, as written (and even as further limited
14    to “light-based physiological monitoring”), seek information well beyond that relevant to
15    this case. For example, these interrogatories, even if limited to “light-based physiological
16    monitoring,” would require Apple to provide information regarding all features and facets
17    of the heart rate functionality in the Apple Watch, including
18                                                                                             Such
19    information is not relevant or proportional to the needs of this case. Interrogatory Nos. 7
20    and 8 should be limited to information relating to Plaintiffs’ alleged technical trade secrets.
21          1.     Apple’s Responses to Interrogatory Nos. 7 and 8 Are Sufficient
22          Apple already provided sufficient responses to Interrogatory Nos. 7 and 8.
23    Plaintiffs’ complaints about both responses are without merit.
24          First, Plaintiffs’ complaint about the Apple Watch versions covered by Apple’s
25    interrogatory responses is of no moment because Apple has produced to Plaintiffs any
26    relevant information from the earlier Apple Watch versions.           Specifically, Plaintiffs
27    complain that Apple’s current responses are insufficient because they address only the
28    Apple Watch Series 3–5. Apple understands this issue to be largely obviated by its making

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1     available for inspection the source code for the earlier versions of the Apple Watch (i.e.,
 2    the Original Apple Watch through the Apple Watch Series 3) for the relevant operation
 3    and functions of the Apple Watch, as well as an additional source code module relating to
 4    the oxygen saturation calculation function of the Apple Watch Series 6 on March 17, 2021.
 5    See Samplin Decl. ¶ 16 & Ex. K, at 167 (Mar. 17, 2021 Email from B. Andrea to P. Oldham
 6    re Source Code Inspection). Likewise, updated source code for WatchOS 7 was made
 7    available to Plaintiffs shortly after the release of the Apple Watch Series 6 and SE and was
 8    inspected by Plaintiffs starting on October 12, 2020. See Samplin Decl. ¶¶ 13–15 & Exs.
 9    H–J. This source code illustrates the changes that were made over time to the relevant
10    physiological monitoring functions of the Watch.
11          Second, Plaintiffs’ claim that Apple has asserted that the public websites identified
12    in its responses describe the “complete development” of the physiological monitoring
13    capabilities of the Apple Watch, J.S. 86, is a straw man. Apple has never asserted that its
14    identification of public websites alone describes the “complete development” of the
15    physiological monitoring capabilities of the Apple Watch. The public websites are a mere
16    portion of Apple’s larger responses to Interrogatories Nos. 7 and 8, which also reference
17    178 documents and the source code made available to Plaintiffs regarding the relevant
18    physiological monitoring features of the Apple Watch. The websites provide a high-level
19    overview of the major physiological monitoring features added in each version of the
20    Watch, while the documents and source code referenced pursuant to Rule 33(d) provide
21    more granular detail of the features available in each Apple Watch Product.
22          Third, Plaintiffs’ complaint about Apple’s reliance on Rule 33(d) in responding to
23    Interrogatories Nos. 7 and 8 is unsupported. Plaintiffs assert that the burden of examining
24    records without further explanation is not “substantially the same for either party” because
25    “Apple’s documents use internal phrases and code words, and Apple has not yet produced
26    full documentation or source code.” J.S. 87. Notably, Plaintiffs fail to indicate what
27    “internal phrases and code words,” if any, allegedly require further explanation for
28    Plaintiffs to efficiently examine Apple’s records. Indeed, Plaintiffs’ assertion that “Apple

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1      is far more familiar” with Apple’s documentation and source code is a truism for any party
 2     and its own documents—particularly technical ones. The self-evident proposition that
 3     Apple is more familiar with Apple’s documents should not preclude Apple from properly
 4     relying on Rule 33(d) in answering Plaintiffs’ interrogatories. See Saddler v. Musicland-
 5     Pickwick Int’l, Inc., 31 Fed. R. Serv. 2d 760 (E.D. Tex. 1980) (explaining that “the
 6     applicability of [Rule 33(d)] depends, not upon familiarity with a set of records, but with
 7     the relative difficulty of analyzing those records to derive the information desired” because
 8     “[i]f a disparity in familiarity necessarily created an inequality in the ease of discovery, the
 9     procedure provided by [that rule] would rarely, if ever, be utilized”). This argument could
10     be raised in any litigation, and would eviscerate Rule 33(d) by prohibiting a party from
11     relying on its own documents simply because they are the party’s own documents.
12           Likewise, Plaintiffs’ argument that Apple “cited every single document and all of its
13     source code that it had produced as of the date of its interrogatory response” lacks important
14     context. J.S. 87 (emphasis omitted). First, the documents identified in Apple’s responses
15     constitute just 1.0% of the total pages of documents produced by Apple as of the date of
16     this filing. Second, the documents identified in Apple’s responses encompass Apple’s first
17     two document productions, which prioritized the collection of relevant technical
18     documentation responsive to Interrogatories Nos. 7 and 8. Apple prioritized these technical
19     documents because Plaintiffs demanded early technical discovery in relation to the
20     currently-stayed patent case, and Plaintiffs have now had these documents for months.
21     Finally, the source code that Apple has made available for inspection was specifically
22     identified as relevant to the physiological monitoring capabilities of the Apple Watch at
23     issue in this case. Apple made an effort to cull and provide Plaintiffs with relevant
24     technical information in the first instance. That certainly is far from objectionable.
25           Each of the cases cited by Plaintiffs on this point are inapposite. For example, in
26     Ergocare Inc. v. D.T. Davis Enterprises, Ltd., the court merely stated that “simply referring
27     to all the documents produced is inadequate,” but the party had not yet responded to the
28     interrogatory at issue. 2015 WL 13609787, at *8 (C.D. Cal. June 17, 2015) (citing Fed. R.

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1      Civ. P. 33(d)(1)). As explained above, although the documents identified in response to
 2     Interrogatories Nos. 7 and 8 did encompass the entirety of Apple’s document productions
 3     at that time, those documents were initially produced because of their relevance to the
 4     technical features at issue, and constitute a mere fraction of the total documents produced
 5     by Apple to date.
 6           In Process Specialties, Inc. v. Sematech, Inc., the defendant responded to an
 7     interrogatory that requested the identities of “all persons with knowledge of relevant facts
 8     pertinent to the claims asserted” by naming some persons, but also stating that “[i]n
 9     addition to the above named individuals, persons whose names appear in documents
10     produced during discovery may also have knowledge of relevant facts.” 2002 WL
11     35646608, at *2–3 (E.D. Cal. Sept. 25, 2002). The Process Specialties court found that
12     this response did not comply with Rule 33(d) in that “defendant cannot simply refer
13     plaintiff to all documents it produces in discovery.” Id. at *3. As explained above, Apple
14     did not “simply refer [Plaintiffs] to all documents” produced during discovery, id., but
15     instead referred Plaintiffs to a specific prioritized subset of documents produced.
16           Budget Rent-A-Car Missouri, Inc. v. Hertz Corp., 55 F.R.D. 354, 357 (W.D. Mo.
17     1972) also is inapposite, because in that case the responding party did not provide
18     information of the type requested—unlike here, where Apple has provided Plaintiffs with
19     the information requested. In Budget Rent-A-Car Missouri, in response to an interrogatory
20     seeking the disclosure of “dates, places, and locations of meetings,” the names of the
21     responding party’s representatives who attended the meetings, and “documents prepared
22     and used” in connection with those meetings, the responding party merely referred to a
23     third party’s documents generally, and instead of providing the names of representatives
24     who attended the meetings, merely stated that “representatives of [responding party] . . .
25     have attended meetings of [third party].” Id. Likewise, in response to an interrogatory
26     asking “whether the rental car association to which defendant belongs publishes any
27     written information . . . and . . . identification of those materials,” the responding party
28     stated only that “it has materials published by the association in its possession and that

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1      those materials will be made available to [requesting party].” Id. at 358. And in response
 2     to an interrogatory seeking to discovery the names of certain persons involved with “the
 3     car rental association to which [responding party] is a member,” the responding party
 4     referenced only the car rental association “Membership Directory.” Id. The court found
 5     that none of these answers were sufficient. Id. at 357–58. Here, by contrast, Apple
 6     responded with, among other things:
 7         relevant dates,
 8         websites that provide an overview of the physiological monitoring features of the
 9            Apple Watch,
10         reference to a specific subset of the total documents Apple has produced to date, and
11         reference to the relevant source code Apple already made available to Plaintiffs for
12            inspection.
13     Apple’s interrogatory response is sufficient.
14            These problems with Plaintiffs’ arguments notwithstanding, in an effort to determine
15     whether there was a compromise to be reached, Apple asked Plaintiffs during the meet-
16     and-confer process to provide a list of their specific questions concerning Apple’s
17     documents and Apple’s development of the Apple Watch—i.e., the specific questions that
18     they deemed relevant and responsive to the interrogatory, but not addressed in Apple’s
19     interrogatory response. Plaintiffs declined the invitation. Plaintiffs apparently seek a
20     detailed missive about the entire development process of everything related to the Apple
21     Watch. A request for such an extensive narrative is not remotely proportional to the needs
22     of this case.
23            Finally, Apple’s incorporation of its response to Interrogatory 7 in its response to
24     Interrogatory 8 is wholly appropriate to the extent that the information provided therein
25     adequately answers the questions posed by both interrogatories—given that the parties
26     reached an agreement earlier in this case to permit incorporation by reference in
27     interrogatory responses. See Samplin Decl. ¶ 7 & Ex. D, at 77.
28


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1            2.     Apple’s Objections are Valid
 2           As explained in detail above, Interrogatories Nos. 7 and 8 are overbroad and unduly
 3     burdensome because they are not limited to the techniques alleged by Plaintiffs as trade
 4     secrets in Plaintiffs’ Section 2019.210 statement. Even if Apple accepted Plaintiffs’
 5     proposed “compromise” to limit Interrogatories Nos. 7 and 8 to “light-based physiological
 6     monitoring,” J.S. 85, 88, these interrogatories would still be overbroad because that
 7     limitation is still broader than the bounds of the technologies described in Plaintiffs’
 8     Section 2019.210 statement. See Section II.B, supra.
 9           Apple’s reliance on Rule 33(d) in its responses to these interrogatories likewise is
10     sufficient and proper, as discussed above. Indeed, Plaintiffs’ cases cited in their effort to
11     reject Rule 33(d) references are inapplicable. For example, in Subramani v. Wells Fargo
12     Bank, N.A., the interrogatories at issue were contention interrogatories that specifically
13     requested the plaintiff to “state all facts supporting certain contentions” in plaintiff’s
14     complaint. 2014 WL 7206888, at *2 (N.D. Cal. Dec. 18, 2014). Likewise, in In re
15     Savitt/Adler Litig., the “interrogatories at issue direct[ed] a plaintiff to ‘state the facts’
16     supporting various allegations in her complaint,” and “none of the interrogatories ask[ed]
17     for the evidence or documents supporting those allegations.” 176 F.R.D. 44, 49 (N.D.N.Y.
18     1997). Interrogatory Nos. 7 and 8 are not contention interrogatories requesting that Apple
19     “state the facts” supporting a contention, and both interrogatories explicitly request
20     “supporting documents, information, and materials.” Accordingly, Apple’s objections are
21     meritorious, and its reliance on Rule 33(d) standard and proper.
22                             [remainder of page left intentionally blank]
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1                           VIII. PLAINTIFFS’ INTERROGATORY 9
 2           Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ Interrogatory 9, and
 3     Apple’s response. The parties’ respective points and authorities follow below.
 4           INTERROGATORY NO. 9:
 5                  Describe in detail, with reference to any supporting documents,
             information, and materials, the operation of pulse rate algorithms associated
 6
             with each Apple Watch Product, including without limitation the timing,
 7           current, and operation of any LEDs used to determine pulse rate, reasons and
             conditions for changing the timing, current or operation of any LED used to
 8
             determine pulse rate, reasons and conditions for selecting among algorithms
 9           to determine pulse rate, and power usage associated with each type of timing,
             current, or operation of any LED.
10
             RESPONSE TO INTERROGATORY NO. 9 (AUGUST 17, 2020):
11
                    Apple hereby restates and incorporates the General Objections above
12           as though fully set forth herein. Apple objects to this Interrogatory to the
13           extent it seeks information or things protected by the attorney-client privilege,
             attorney work product doctrine, or any other applicable privilege, immunity,
14           or protection. Apple objects to this Interrogatory as overly broad and unduly
15           burdensome in that it seeks information related to technical features that are
             not relevant to this litigation. Apple objects to this Interrogatory to the extent
16           it seeks information related to products that are not relevant to this litigation,
17           which Masimo has not identified in its Complaint or otherwise accused of
             infringement. Apple objects to this Interrogatory as overbroad and unduly
18           burdensome because it is not limited to the publicly released Apple Watch
19           Series 3-5 devices identified and alleged in Plaintiffs’ infringement
             allegations to infringe the Asserted Patents. Apple objects to this Interrogatory
20
             as overly broad and unduly burdensome because it is not reasonably limited
21           to the scope of infringement allegations in this litigation. Apple objects to this
             Interrogatory as overbroad and unduly burdensome as it is not limited to any
22
             relevant time period. Apple objects to this Interrogatory as improper as it calls
23           for a narrative. Apple objects to this Interrogatory to the extent it is compound
             and comprises discrete subparts, and asserts that each subpart of each
24
             compound Interrogatory counts separately toward the discovery limits set
25           forth in the Federal Rules of Civil Procedure and the Local Rules of the United
             States District Court for the Central District of California.
26
                   Subject to and without waiving the foregoing General and Specific
27           Objections, Apple responds as follows:
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1                     Apple incorporates by reference its response to Interrogatory Nos. 7
 2
             and 8.
                   Pursuant to Rule 33(d) of the Federal Rules of Civil Procedure, Apple
 3
             incorporates by reference the documents bearing bates numbers APL-
 4           MAS_00000001 through APL-MAS_00001192, as well as the source code it
             has made available for inspection in this action.
 5
                    Apple reserves the right to supplement and/or amend its response to this
 6
             Interrogatory as it continues its investigation and as discovery progresses.
 7     A.    Plaintiffs’ Position
 8           Interrogatory 9 seeks information about Apple’s pulse rate algorithm. In particular,
 9     the interrogatory seeks a description of the operation of the pulse rate algorithm, including
10     the timing, current, and operation of LEDs, reasons and conditions for changing timing,
11     current, or operation, reasons and conditions for selecting among algorithms, and power
12     usage associated with each type of timing, current, or operation. As discussed above, this
13     technical information is at the core of this dispute.
14

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16     This interrogatory is proportional to the needs of the case for the reasons discussed above.
17     Among other things, this interrogatory seeks relevant information, the amount in
18     controversy is high, and Apple cannot claim it lacks resources to respond because it is the
19     most valuable public company on earth.
20           Apple’s response is deficient because it merely (1) incorporated by reference its
21     response to Interrogatory Nos. 7 and 8 and (2) referred to APL-MAS_00000001-00001192
22     and its source code under Rule 33(d). Apple’s incorporation of Interrogatory Nos. 7 and 8
23     is irrelevant because Apple’s responses to those interrogatories are insufficient and do not
24     answer the question posed by Interrogatory No. 9. Apple’s reliance on Rule 33(d) is also
25     misplaced. Similar to Interrogatories 7 and 8, Apple does not attempt to show that
26     Plaintiffs can determine the answer to Interrogatory 9 merely by referring to the documents
27     and source code that it cites or that the burden on both parties is the same. Indeed, Apple
28     appears to have made no attempt to identify specific documents that would provide the

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1      request information because it cited every single document and all of its source code that
 2     it had produced as of the date of its interrogatory. Simply “referring to all the documents
 3     produced is inadequate” under Rule 33(d). Ergocare, 2015 WL 13609787, at *8; see also
 4     Process Specialties, 2002 WL 35646608, at *3; Budget Rent-A-Car, 55 F.R.D. at 357.
 5              Apple presents no valid basis for refusing to provide a substantive response to
 6     Interrogatory 9. As discussed, Apple’s “general or boilerplate objections” in its written
 7     responses are inappropriate. See Nguyen, 2019 WL 4579259, at *3. During the meet and
 8     confer, Apple appeared to drop most of its objections. Ex. 24 at 4-5. Apple’s only current
 9     objection for Interrogatory No. 9 is that it seeks “information related to ‘pulse rate,’ a topic
10     that is not relevant to the claims and defenses in this case or proportional to the needs of
11     this case.” Id. at 5.
12

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16                    As discussed above, Apple’s arguments lack merit. See Section II.A.2.a,
17     supra.      Plaintiffs are entitled to discovery to test Apple’s assertion.            Apple’s
18     unsubstantiated argument that Plaintiffs’ claim will fail on the merits does not provide a
19     basis to refuse discovery. Carrizosa, 2006 WL 1581953, at *2; Manzo, 2019 WL 2866047,
20     at *2; Elkin, 2017 WL 4047235, at *2.
21

22              Accordingly, Apple has not shown why discovery should be limited. The Court
23     should overrule Apple’s objections and order Apple to provide a full and complete
24     response.
25     B.       Apple’s Position
26              Interrogatory No. 9 seeks information regarding any pulse rate algorithm used in the
27     Apple Watch Products. In particular, this interrogatory requests a description of the
28     “timing, current, and operation of any LEDs used to determine pulse rate,” along with the

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1      reasons for changing those parameters, reasons and conditions for selecting among pulse
 2     rate algorithms, and the power usage associated with each type of “timing, current, or
 3     operation of any LED.” J.S. 96. Notably, this interrogatory appears to be directed to
 4     information relating to Plaintiffs’ infringement allegations regarding U.S. Patent Nos.
 5     8,457,703 and 10,433,776, both entitled “Low power pulse oximeter.” See Plaintiffs’ Ex.
 6     26, at 273, 333–42 (¶¶ 37–38, 194–222). Because the patent case is stayed, no response to
 7     this interrogatory should even be required to the extent Plaintiff seeks information relating
 8     to its infringement allegations.
 9           That being said, Apple responded to the portion of this interrogatory that could relate
10     to Plaintiffs’ trade secret case. Plaintiffs thus appear to misunderstand Apple’s core
11     objection to Interrogatory No. 9. Apple agrees that
12

13

14                                                            But, as Apple explained during the
15     meet-and-confer process, Interrogatory No. 9 is overbroad as written to the extent that it
16     seeks more information than that—regarding any pulse rate algorithm used in the Apple
17     Watch. See Samplin Decl. Ex. F, at 131 (Mar. 9, 2021 Letter from I. Samplin to A. Powell
18     at 5). Such information is not relevant or proportional to Plaintiffs’ alleged trade secrets.
19     Interrogatory No. 9 should be limited only to
20                                   in the Apple Watch.
21           To try and get around that result, Plaintiffs argue—in a conclusory fashion—
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 2                                                         Accordingly, Interrogatory No. 9 does
 3     not pertain to the alleged                              trade secrets at issue in this case.
 4           In addition, for at least the same reasons outlined in Section VII. B.1 above, Apple’s
 5     response to Interrogatory No. 9 is sufficient and an appropriate invocation of Rule 33(d).
 6     Most notably, Apple has provided the source code modules for the relevant blood oxygen
 7     saturation functionality of the Apple Watch. Apple properly identified this source code
 8     pursuant to Rule 33(d). Plaintiffs remaining arguments regarding the sufficiency of
 9     Apple’s response are predicated on the same misplaced reliance on inapplicable case law
10     for Interrogatories Nos. 7 and 8, and these arguments are equally inapplicable to
11     Interrogatory No. 9.
12                             [remainder of page left intentionally blank]
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1                                           Respectfully submitted,
 2                                          KNOBBE, MARTENS, OLSON & BEAR, LLP
 3

 4     Dated: April 22, 2021                By: /s/ Adam B. Powell
 5                                               Joseph R. Re
                                                 Stephen C. Jensen
 6                                               Benjamin A. Katzenellenbogen
                                                 Perry D. Oldham
 7                                               Stephen W. Larson
                                                 Mark D. Kachner
 8
                                                 Adam B. Powell
 9
                                                Attorneys for Plaintiffs
10                                              MASIMO CORPORATION and
                                                CERCACOR LABORATORIES, INC.
11
                                            GIBSON, DUNN & CRUTCHER LLP
12

13
       Dated: April 22, 2021                By: /s/ Ilissa Samplin (with permission)
14
                                                 Joshua H. Lerner
15                                               H. Mark Lyon
                                                 Brian M. Buroker
16                                               Brian A. Rosenthal
17
                                                 Ilissa Samplin
                                                 Angelique Kaounis
18                                               Brian K. Andrea
19                                              Attorneys for Defendant
                                                APPLE INC.
20
       34838898
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